      Case 2:21-cv-05144-WB Document 4-3 Filed 12/16/21 Page 1 of 113



                                                                                                APPEAL




                                 U.S. Bankruptcy Court
                     Eastern District of Pennsylvania (Philadelphia)
                        Adversary Proceeding #: 18−00137−mdc

Assigned to: Chief Judge Magdeline D. Coleman                  Date Filed: 06/11/18
Lead BK Case: 18−13098
Lead BK Title: Lyndel Toppin
Lead BK Chapter: 13
Demand:
 Nature[s] of Suit: 91 Declaratory judgment
                     72 Injunctive relief −
                        other



Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Lyndel Toppin                                   represented by STEPHEN MATTHEW DUNNE
146 S. 62nd Street                                             Dunne Law Offices, P.C.
Philadelphia, PA 19145                                         1515 Market Street
SSN / ITIN: xxx−xx−2550                                        Suite 1200
                                                               Philadelphia, PA 19102
                                                               U.S.A.
                                                               215−551−7109
                                                               Fax : 215−525−9721
                                                               Email: bestcasestephen@gmail.com

                                                              PREDRAG FILIPOVIC
                                                              I Fight 4 Justice
                                                              1735 Market Street
                                                              Ste. 3750
                                                              Philadelphia, PA 19103
                                                              267 265 0520
                                                              Email: pfesq@ifight4justice.com
                                                              TERMINATED: 06/18/2019

                                                              MEGAN N. HARPER
                                                              City of Philadelphia − Law/Revenue Dept.
                                                              1401 JFK Blvd.
                                                              Room 580
                                                              Philadelphia, PA 19102
                                                              215 686 0503
                                                              Email: megan.harper@phila.gov
                                                              TERMINATED: 02/14/2019

                                                              DAVID M. OFFEN
                                                              The Curtis Center
                                                              601 Walnut Street
                                                              Suite 160 West
                                                              Philadelphia, PA 19106
                                                              (215) 625−9600
                                                              Email: dmo160west@gmail.com
                                                              TERMINATED: 02/14/2019



                                                                                                         1
      Case 2:21-cv-05144-WB Document 4-3 Filed 12/16/21 Page 2 of 113



V.

Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Jewell Williams                                 represented by MEGHAN ANNETTE BYRNES
Sheriff of the City of Philadelphia                            City of Philadelphia
Land Title Building                                            1515 Arch Street
Fifth Floor                                                    Ste 17−151
100 South Broad Street                                         Philadelphia, PA 19102
Philadelphia, PA 19110                                         215−683−5011
                                                               Email: meghan.byrnes@phila.gov

                                                                JOSHUA DOMER
                                                                City of Philadelphia Law Department
                                                                1401 JFK Blvd
                                                                5th Floor
                                                                Philadelphia, PA 19102
                                                                215 686 0519
                                                                Email: joshua.domer@phila.gov

                                                                MEGAN N. HARPER
                                                                (See above for address)


Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Abdeldayem Hassan                               represented by STEPHEN MATTHEW DUNNE
309 Barker Avenue                                              (See above for address)
Lansdowne, PA 19050                                            TERMINATED: 02/14/2019
aka Abdeldyem Hassan
                                                                DAVID M. OFFEN
                                                                (See above for address)

 Filing Date           #                                        Docket Text

                           88     Document in re: Pretrial Disclosures Filed by STEPHEN MATTHEW
                                  DUNNE on behalf of Lyndel Toppin. (DUNNE, STEPHEN) (Entered:
 01/17/2020                       01/17/2020)

                           105    Response to Motion for Summary Judgment filed by Defendant Jewell
                                  Williams Filed by Lyndel Toppin (related document(s)71). (Attachments:
                                  # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                                  Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11
                                  Exhibit K # 12 Exhibit L # 13 Exhibit M # 14 Exhibit N # 15 Exhibit O)
 02/05/2020                       (DUNNE, STEPHEN) (Entered: 02/05/2020)

                           112    Brief Reply Brief in Support of Summary Judgment Filed by MEGAN N.
                                  HARPER on behalf of Jewell Williams (related document(s)71).
                                  (Attachments: # 1 Exhibit A − Hassan Dep. # 2 Service List) (HARPER,
 02/14/2020                       MEGAN) (Entered: 02/14/2020)

                           122    Affidavit Re: Sheriffs Efforts to Produce Employee Responsive to the
                                  Courts Order Filed by JOSHUA DOMER on behalf of Jewell Williams
 03/12/2020                       (related document(s)111). (DOMER, JOSHUA) (Entered: 03/12/2020)

 04/06/2020                126    Supplemental Memorandum in Support of Motion for Summary
                                  Judgment Filed by MEGAN N. HARPER on behalf of Jewell Williams
                                  (related document(s)71). (Attachments: # 1 Exhibit A # 2 Service List)


                                                                                                              2
    Case 2:21-cv-05144-WB Document 4-3 Filed 12/16/21 Page 3 of 113



                        (HARPER, MEGAN) (Entered: 04/06/2020)

                  127   Supplemental Memorandum in Opposition to Motion for Summary
                        Judgment Filed by STEPHEN MATTHEW DUNNE on behalf of Lyndel
                        Toppin (related document(s)71). (DUNNE, STEPHEN) (Entered:
04/06/2020              04/06/2020)

                  128   Order Governing Procedures At Trial Conducted Remotely By
                        Videoconference on July 17,2020 2 10:30 A.M. (J., Christina) (Entered:
06/30/2020              06/30/2020)

                  137   Trial (related document(s)1)re−scheduled for 8/21/2020 at 10:30 AM at
07/14/2020              nix2 − Courtroom #2. (G., Eileen) (Entered: 07/14/2020)

                  140   Order Governing Procedures at Trial Conducted Remotely by Video
07/29/2020              Conference . (D., Virginia) (Entered: 07/29/2020)

                  147   Sheriff of the City of Philadelphia's Remote Witness and Exhibit List in
                        re: Filed by MEGAN N. HARPER on behalf of Jewell Williams (related
                        document(s)140). (HARPER, MEGAN) **Modified on 8/18/2020 to add
                        the words "Sheriff of the City of Philadelphia's Remote Witness and
08/17/2020              Exhibit List" to reflect the PDF**(D., Virginia). (Entered: 08/17/2020)

                  148   Plaintiff's Remote Witness List Filed by STEPHEN MATTHEW
                        DUNNE on behalf of Lyndel Toppin (related document(s)140).
                        (DUNNE, STEPHEN) Modified on 8/18/2020 (D., Virginia). (Entered:
08/17/2020              08/17/2020)

                  153   Evidentiary Trial Held and Concluded (related document(s),137).
                        Defendents's counsel shall order the Transcript within 30 days weeks; 2
                        weeks after response to be filed; 2 weeks after Plaintiff shall respond; to
08/21/2020              be held Under Advisement (G., Eileen) (Entered: 08/24/2020)




                                                                                                      3
Case 18-00137-mdc    Doc 88 Filed
       Case 2:21-cv-05144-WB      01/17/20
                               Document  4-3 Entered 01/17/20 Page
                                              Filed 12/16/21  15:44:32   Desc Main
                                                                   4 of 113
                            Document     Page 1 of 3



                    IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
In re:                                     :
                                           : Chapter 13
LYNDEL TOPPIN,                             :
            Debtor.                        : Bankruptcy No. 18-13098 (MDC)
__________________________________________:
                                           :
LYNDEL TOPPIN,                             :
            Plaintiff,                     :
                                           :
            v.                             : Adv. Proc. No. 18-00137 (MDC)
                                           :
JEWELL WILLIAMS, SHERIFF                   :
OF THE CITY OF PHILADELPHIA and            :
ABDELDAYEM HASSAN a/k/a                    :
ABDELDYEM HASSAN,                          :
            Defendants.                    :
__________________________________________:




    PRETRIAL DISCLOSURES OF LYNDELL TOPPIN, PLAINTIFF, AS
               REQUIRED BY FED. R. CIV. P. 26(a)(3)


1. Pretrial disclosures pursuant to Rule 26(a)(3)(A)(i):
a. Witnesses the Plaintiff reserves the right to call:
Lieutenant Sean Thornton
Philadelphia Sheriff's Office
Civil Enforcement/ Investigations Units,
Monta Guess, Inspector (same Unit)
100 South Broad Street, 5th Floor
Philadelphia, PA 19110
Deputy Jetaria Taylor
Witnesses the Sheriff may call if the need arises:
Abdeldayem Hassan




                                                                                     4
Case 18-00137-mdc    Doc 88 Filed
       Case 2:21-cv-05144-WB      01/17/20
                               Document  4-3 Entered 01/17/20 Page
                                              Filed 12/16/21  15:44:32   Desc Main
                                                                   5 of 113
                            Document     Page 2 of 3



309 Barker Avenue
Lansdowne, PA 19050
Barrington Whyte
146 S. 62nd Street
Philadelphia, PA 19139
Lyndel Toppin
146 S. 62nd Street
Philadelphia, PA 19139
Custodian of Records, Office of Judicial Records
City Hall Philadelphia, PA 19107
Custodian of Records, Philadelphia Sheriff’s Office
100 South Broad Street, 5th Floor
Philadelphia, PA 19110
David Offen, Esquire
Mr. Offen’s contact information available on the docket of this action.


The Plaintiff reserves the right to call any witnesses identified by in their pretrial
disclosure.


2. Pretrial Disclosures pursuant to Rule 26(a)(3)(A)(ii):
Plaiintiff reserves the right, to present the deposition testimony of Abdeldayem Hassan or the
deposition testimony of any of the Sheriff’s deponents ( Taylor, Thorton, Guess, and others),
should either witness fail to appear at the time of trial, or for impeachment.
3. Pretrial disclosures pursuant to Rule 26(a)(3)(A)(iii):
a. Documents the Plaintiff expects to offer:
i. Writ of Possession maintained by the Sheriff’s Office.
ii. Fax of Notice of Bankruptcy dated May 08, 2018.
iii. Sheriff's Return of Service for Court of Common Pleas Docket No.
1504T0192.




                                                                                                 5
Case 18-00137-mdc    Doc 88 Filed
       Case 2:21-cv-05144-WB      01/17/20
                               Document  4-3 Entered 01/17/20 Page
                                              Filed 12/16/21  15:44:32   Desc Main
                                                                   6 of 113
                            Document     Page 3 of 3



iv. Service Event Report dated May 10, 2018.
v. Fax of Notice of Bankruptcy dated June 07, 2018.
vi. Record from the Sheriff’s log book for possessions/evictions listing
the property 146 S. 62nd Street, Philadelphia, PA 19139.
vii. Service Event Report dated June 25, 2018
b. Documents the Sheriff may offer if the need arises:
i. Philadelphia Court of Common Pleas Docket Report No. 1504T0192.
ii. Sheriff’s Deed for 146 S 62nd Street.
iii. Philadelphia Court of Common Pleas Docket Report No. 180103400.
iv. Praecipe for Issuance of Writ of Possession and Writ of Possession.
v. All pleadings, exhibits, and discovery disclosures from the Plaintiff, the
Sheriff of the City of Philadelphia, and Abdeldayem Hassan, including all deposition exhibits
and the exhibits attached to the Motion for Judgment on Pleadings and all other motions, and all
documents exchanged in discovery among parties, including those that are matter of public
record.


Dated: January 17, 2020


       By: /s/ Predrag Filipovic                      BY: /s/ Stephen M. Dunne
       Predrag Filipovic, Esquire                     Stephen M. Dunne, Esquire
       1735 Market St., Suite 3750                    1515 Market Street, Suite. 1200
       Philadelphia, PA 19103                         Philadelphia, PA 19102
       267-265-0520 Phone                             (215) 551-7109 Phone
          Attorney for Plaintiff                      Attorney for Plaintiff




                                                                                                   6
Case 18-00137-mdc    Doc 105 Filed
        Case 2:21-cv-05144-WB      02/05/20
                               Document   4-3 Entered  02/05/20Page
                                               Filed 12/16/21   19:38:40   Desc Main
                                                                    7 of 113
                            Document     Page 1 of 12



                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 __________________________________________
 In re:                                     :
                                            :                Chapter 13
 LYNDEL TOPPIN,                             :
                                            :
             Debtor.                        :                Bankruptcy No. 18-13098 (MDC)
 __________________________________________:
                                            :
 LYNDEL TOPPIN,                             :
                                            :
             Plaintiff,                     :
                                            :
             v.                             :                Adv. Proc. No. 18-00137 (MDC)
                                            :
 JEWELL WILLIAMS, SHERIFF                  :
 OF THE CITY OF PHILADELPHIA and            :
 ABDELDAYEM HASSAN a/k/a                    :
 ABDELDYEM HASSAN,                          :
                                            :
             Defendants.                    :
 __________________________________________:

      PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR
                           SUMMARY JUDGMENT

         It is well known that the automatic stay is designed to stop pending debt collection
 activity and litigation and is considered one of the fundamental protections afforded by the
 Bankruptcy Code.

       In this case, there is no dispute that the Philadelphia Sheriff had knowledge of the
 bankruptcy case on May 8, 2018.

          Sheriff’s position that it is somehow above the law and immune from contempt of court
 is ill-conceived and misplaced as a matter of established law. Congress intended that the
 automatic stay reach governmental entities irrespective of any immunity that they might have.

 I.     FACTUAL AND PROCEDURAL BACKGROUND

        1.       Admitted. By a way of further response, debtor’s home at 146 S. 62nd Street,
 Philadelphia, PA 19139 (the “Property”) was sold at sheriff’s sale on October 5, 2017 due to
 delinquent real estate taxes amounting to $1,967.40. A true and correct copy of the Sheriff’s
 Distribution is attached hereto as Exhibit “A.”




                                                                                                  7
Case 18-00137-mdc    Doc 105 Filed
        Case 2:21-cv-05144-WB      02/05/20
                               Document   4-3 Entered  02/05/20Page
                                               Filed 12/16/21   19:38:40   Desc Main
                                                                    8 of 113
                            Document     Page 2 of 12



       2.    Admitted to the extent stated in Plaintiff’s Complaint. By way of further response,
 Abdeldayem Hassan a/k/a Abdeldyem Hassan was the winning bidder at the sale.

        3.      Admitted to the extent Plaintiff’s Complaint so indicates. By way of further
 response, on January 22, 2018, Defendant Hassan filed an ejectment action in the Philadelphia
 Court of Common Pleas against “Unknown Occupants” of the Property.

        4.      Foregoing is a conclusion of law to which no response is required. To the extent a
 response is required, the averment is denied for reasons stated below. By way of further
 response, on April 05, 2018, Defendant Hassan received a default judgment and filed a Motion
 for Writ of Possession against Unknown Occupants, which was granted on April 30, 2018.

         5.     Foregoing is a conclusion of law to which no response is required. To the extent a
 response is required, the averment is denied for reasons stated below. By way of further
 response, Defendant Hassan filed the Praecipe and the court issued the Writ of Possession
 against Unknown Occupants for the Property on May 07, 2018.

        6.       Foregoing is a conclusion of law to which no response is required. To the extent a
 response is required, the averment is denied for reasons stated below. By way of further
 response, on May 8, 2018 at 6.04 PM, Mr. Lyndel Toppin filed a Chapter 13 bankruptcy petition
 in a matter styled In re: Toppin, E.A. Pa. Bankr. No. 18-13098-MDC.

         7       Foregoing is a conclusion of law to which no response is required. To the extent a
 response is required, the averment is denied for reasons stated below. By way of further
 response, on May 8, 2018 at 6.27 PM Debtor’s Counsel provided the Notice of Bankruptcy Case
 Filing to the Sheriff via facsimile at 215-686-3555. See Ex. “B”

        8.       Foregoing is a conclusion of law to which no response is required. To the extent a
 response is required, the averment is denied for reasons stated below. By way of further response
 on May 8, 2018 at 6.28 PM Debtor’s Counsel provided the Notice of Bankruptcy Case Filing to
 the Sheriff via facsimile at 215-686-3971. See Ex. “C”

         9.     Foregoing is a conclusion of law to which no response is required. To the extent a
 response is required, the averment is denied for reasons stated below. By way of further response
 on or around May 8, 2018, at 10:25 PM, the Sheriff received a fax with the subject line “Notice
 of Bankruptcy Case Filing – Book/Writ 1707-5002.1.” See Def.’s Mot. at pg. 3, ¶11.

        10.     Foregoing is a conclusion of law to which no response is required. To the extent a
 response is required, the averment is denied for reasons stated below. By way of further
 response on May 9, 2018 Debtor’s Counsel telephoned Sheriff at 215-686-3565 and provided
 oral Notice of Bankruptcy Case Filing. See Ex. “D”

         11.     Foregoing is a conclusion of law to which no response is required. To the extent a
 response is required, the averment is denied for reasons stated below. By way of further response
 on May 10, 2018 Debtor’s Counsel provided the Notice of Bankruptcy Case Filing to the Sheriff
 via facsimile at 215-686-3555. See Ex. “E.”




                                                                                                      8
Case 18-00137-mdc    Doc 105 Filed
        Case 2:21-cv-05144-WB      02/05/20
                               Document   4-3 Entered  02/05/20Page
                                               Filed 12/16/21   19:38:40   Desc Main
                                                                    9 of 113
                            Document     Page 3 of 12



                        STATEMENT OF PLAINTIFF’S UNDISPUTED FACTS:

         12.    On or about May 10, 2018, Deputy Sheriff Jetaria Taylor (“Deputy Taylor”) went
 out to the Property to personally serve the Notice to Vacate the premises. See Def.’s Memo at
 pg. 4, ¶18.

         13.    On or about May 10, 2018, Sheriff Taylor posted the notice to the front door, left
 a copy of the notice in the mail slot at the Property, and mailed a copy of the notice through
 regular mail. See Def.’s Memo at pg. 4, ¶19.

        14.    On or about May 18, 2018, Sheriff served Debtor, Lyndel Toppin with a Notice to
 Vacate. See Ex. “F.”

        15.    On or about May 24, 2018, Sheriff served Debtor, Lyndel Toppin with a Notice to
 Vacate. See Ex. “G.”

        16.    On or about May 30, 2018, Sheriff served Debtor, Lyndel Toppin with a Notice to
 Vacate. See Ex. “H.”

         17.     On May 31, 2018, the Bankruptcy Noticing Center mailed a notice of the
 Plaintiff’s bankruptcy case to the Philadelphia Sheriff’s Office at 100 S. Broad Street, 5th Floor,
 Philadelphia, PA 19110, and provided electronic notice to the City of Philadelphia Law
 Department at bankruptcy@phila.gov. See Def.’s Memo at pg. 4, ¶20.

         18.    On or about June 1, 2018, Sheriff Taylor returned to the Property to personally
 serve the Eviction Notice. See Def.’s Memo at pg. 4, ¶21.

         19.    On or about June 1, 2018, Sheriff Taylor posted the notice to the front door, left a
 copy of the notice in the mail slot at the Property, and mailed a copy of the notice through
 regular mail. See Def.’s Memo at pg. 5, ¶22.

        20.    On or about June 1, 2018, Sheriff served Debtor, Lyndel Toppin with an Eviction
 Notice. See Ex. “I.”

        21.    On or about June 5, 2018, Sheriff served Debtor, Lyndel Toppin with an Eviction
 Notice. See Ex. “J.”

        22.    On or about June 7, 2018, Sheriff served Debtor, Lyndel Toppin with an Eviction
 Notice. See Ex. “K.”

         23.   Despite ample notice of the underlying bankruptcy, Sheriff violated the statutory
 injunction imposed by 11 U.S.C. § 362 on at least six (“6”) separate occasions.

        24.      Sheriff’s 30(b)(6) witness Lieutenant Thornton testified that Sheriff’s Office did
 not devise a telephone line or a web site, or establish an electronic mailbox or a facsimile number




                                                                                                       9
Case 18-00137-mdc    Doc 105 Filed
       Case 2:21-cv-05144-WB       02/05/20
                              Document   4-3 Entered  02/05/20Page
                                             Filed 12/16/21    19:38:40   Desc Main
                                                                   10 of 113
                            Document     Page 4 of 12



 where debtors or their attorneys could transmit notice of a bankruptcy to the Sheriff’s Office.
 See Thornton Dep. 13:5 -14:9, Dec. 12, 2019.

         25. Accordingly, Sheriff’s litigation tactic in defense of automatic stay violation cases,
 when receipt of Notice of bankruptcy is at issue, is to pass the receipt of Notice burden from one
 of its departments to another in an attempt to shift the burden onto the Debtors and their
 attorneys to guess which department deemed themselves notified and which one should be, and
 or whether or not Sheriff’s interdepartmental communication of the Notice took place. See Def.’s
 Memo at pg. 3, ¶13, pg. 4, ¶15-16.

        26. The Sheriff’s legal legerdemain is evident upon reviewing the Sheriff’s Service Event
 Report dated May 10, 2018 which indicates a bankruptcy filing and is categorized as “Writ of
 Possession,” which would be presumably handled by the Civil Enforcement Unit. See Ex. “L.”

        27. The Sheriff’s Service Event Report dated June 25, 2018 is also categorized as “Writ
 of Possession,” although it states that notice of the bankruptcy was received on June 6, 2018. See
 Ex. “M.”

         28. Despite the above inconsistency claiming notice of the bankruptcy on June 6, 2018, a
 Sheriff’s Return of Service dated August 20, 2019 indicates that Defendant’s Attorney (Stephen
 M. Dunne, Esq.) visited the Sheriff’s Office on May 8, 2018 and also states that a “Bankruptcy
 Filed in Sheriff’s Office” on May 9, 2018. See Ex. “N.”

         29. The Sheriff’s Return of Service noting “Bankruptcy Filed in Sheriff’s Office” and
 dated May 9, 2018 was presumably delivered to the Sheriff at/around 9.00 AM as evidenced by
 the Sheriff’s handwritten note “Bankruptcy Filed” but Sheriff’s handwritten note is dated June
 25th without any year cited. See Ex. “O.”

         30. Sheriff’s haphazard system places the public at grave risk as Debtors and their
 attorneys have no way of uploading; inputting; or sending notice of a bankruptcy to the Sheriff’s
 Office.

         31. Consequently, the Sheriff’s Office has no discernable process; procedure; or internal
 policy to accept and process notices of bankruptcy cases and otherwise comply with federal
 bankruptcy law.

         32. Sheriff’s legally erroneous submissions in summary judgment motion claiming
 sovereign immunity from BK code, further bolster the facts on the record pointed to by Plaintiff
 above that the operations of the Sheriff are not sufficiently equipped or even particularly
 interested in complying with the Automatic stay provisions of Bankruptcy Code.




                                                                                                      10
Case 18-00137-mdc    Doc 105 Filed
       Case 2:21-cv-05144-WB       02/05/20
                              Document   4-3 Entered  02/05/20Page
                                             Filed 12/16/21    19:38:40   Desc Main
                                                                   11 of 113
                            Document     Page 5 of 12



 II.     LAW AND ARGUMENT

 Summary Judgment Standard

         Federal Rule of Civil Procedure 56(a) adopted in the Bankruptcy code as 7056 a), states
 that summary judgment is proper “if the movant shows that there is no genuine dispute as to any
 material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).
 The Court asks “whether the evidence presents a sufficient disagreement to require submission to
 the jury or whether . . . one party must prevail as a matter of law.” Anderson v. Liberty Lobby,
 Inc., 477 U.S. 242, 251-52 (1986). The moving party has the initial burden of informing the court
 of the basis for the motion and identifying those portions of the record that demonstrate the
 absence of a genuine dispute of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
 Movant in this instance failed to demonstrate the absence of genuine issue of fact, that would
 allow summary judgment to be entered in their favor.
       “A fact is material if it could affect the outcome of the suit after applying the substantive
 law. Further, a dispute over a material fact must be ‘genuine,’ i.e., the evidence must be such
 ‘that a reasonable jury could return a verdict in favor of the non-moving party.’” Compton v.
 Nat’l League of Prof’l Baseball Clubs, 995 F. Supp. 554, 561 n.14 (E.D. Pa. 1998) (quoting
 Liberty Lobby, 477 U.S. at 255).
       Summary judgment must be granted “against a party who fails to make a showing
 sufficient to establish the existence of an element essential to that party’s case, and on which that
 party will bear the burden of proof at trial.” Celotex, 477 U.S. at 322. Once the moving party has
 produced evidence in support of summary judgment, the non-moving party must go beyond the
 allegations set forth in its pleadings and counter with evidence that presents “specific facts
 showing that there is a genuine issue for trial.” See Big Apple BMW, Inc. v. BMW of N. Am., Inc.,
 974 F.2d 1358, 1362-63 (3d Cir. 1992). “More than a mere scintilla of evidence in its favor”
 must be presented by the non-moving party in order to overcome a summary judgment motion.
 Tziatzios v. United States, 164 F.R.D. 410, 411-12 (E.D. Pa. 1996). If the court determines that
 there are no genuine disputes of material fact, then summary judgment will be granted. Celotex,
 477 U.S. at 322. Plaintiff has pointed to concrete admissions under oath, in the pleadings, as
 well as various admissible documents which preclude summary judgment in Sheriff’s favor.




                                                                                                         11
Case 18-00137-mdc    Doc 105 Filed
       Case 2:21-cv-05144-WB       02/05/20
                              Document   4-3 Entered  02/05/20Page
                                             Filed 12/16/21    19:38:40   Desc Main
                                                                   12 of 113
                            Document     Page 6 of 12



        A.      THE AUTOMATIC STAY

        Section 362(a) of the Code provides an automatic stay of certain actions once a petition
 under the Code is filed, including:

        (1)the commencement or continuation, including the issuance or employment of process,
            of a judicial, administrative, or other proceeding against the debtor that was or could
            have been commenced before the commencement of the case under this title, or to
            recover a claim against the debtor that arose before the commencement of the case
            under this title;

        (2) the enforcement, against the debtor or against property of the estate, of a judgment
           obtained before the commencement of the case under this title;

        (3) any act to obtain possession of property of the estate or of property from the estate;

        (4) any act to create, perfect, or enforce any lien against property of the estate.

         It is clear that the actions of the sheriff in continuing with the commencement or
 continuation, including the issuance or employment of process, of a judicial, administrative,
 or other proceeding against the debtor after the debtor had filed his petition is a violation of the
 automatic stay.

        B.      NOTICE TO SHERIFF OF THE TOPPIN BANKRUPTCY CASE

         A violation of the automatic stay is willful if a creditor's conduct was intentional (as
 distinguished from inadvertent), and committed with knowledge of the pendency of the
 bankruptcy case. Laboy v. Doral Mortg. Corp. (In re Laboy), 647 F.3d 367, 374 (1st Cir.
 2011) (quoting In re McMullen, 386 F.3d 320, 330 (1st Cir. 2004) (internal quotations omitted)).
 "A willful violation does not require a specific intent to violate the automatic stay[,]" rather, the
 creditor need only intend the act which violates the stay. Fleet Mortg. Grp. v. Kaneb, 196 F.3d
 265, 269 (1st Cir. 1999).

        Sheriff acknowledged receiving actual notice of Mr. Toppin’s bankruptcy filing on May
 8, 2018. See Def.’s Memo at pg. 3, ¶11.

         Sheriff’s actions in continuing with the commencement or continuation, including the
 issuance or employment of process, of a judicial, administrative, or other proceeding against the
 debtor by visiting his personal residence; posting his property; inserting notices in his mailbox;
 and mailing Notices to Vacate and Eviction Notices all constitute individual and separate
 violations of the automatic stay under § 362(k). It is well known that the automatic stay is
 designed to stop pending debt collection activity and litigation and is considered one of the
 fundamental protections afforded by the Bankruptcy Code. E.g., In re Billings, 544 B.R. 529,
 533 (Bankr. E.D. Pa. 2016) (citing H & H Beverage Distributors v. Dep't of Revenue of Com. of
 Pa., 850 F.2d 165, 166 (3d Cir. 1988)), aff'd, 687 Fed.Appx. 163, 2017 WL 1488657 (3d Cir.
 Apr. 26, 2017) (nonprecedential).




                                                                                                         12
Case 18-00137-mdc    Doc 105 Filed
       Case 2:21-cv-05144-WB       02/05/20
                              Document   4-3 Entered  02/05/20Page
                                             Filed 12/16/21    19:38:40   Desc Main
                                                                   13 of 113
                            Document     Page 7 of 12



         The automatic stay, imposed by 11 U.S.C. § 362(a), prohibits, inter alia, "any act to
 collect ... or recover a claim against the debtor that arose before the commencement of the case,"
 11 U.S.C. § 362(a)(6) and "any act to obtain possession of property of the estate or of property
 from the estate or to exercise control over property of the estate," 11 U.S.C. § 362(a)(3).

        A willful violation of the automatic stay gives rise to a claim for damages, as set forth in
 11 U.S.C. § 362(k):

        (1) Except as provided in paragraph (2), an individual injured by any willful violation of
        a stay provided by this section shall recover actual damages, including costs and
        attorneys' fees, and, in appropriate circumstances, may recover punitive damages.

        (2) If such violation is based on an action taken by an entity in the good faith belief that
        subsection (h) applies to the debtor, the recovery under paragraph (1) of this subsection
        against such entity shall be limited to actual damages.

 11 U.S.C. § 362(k) (emphasis added).

         The Third Circuit recently summarized the well established standard for the concept of a
 “willful" violation of the automatic stay:

        “It is a willful violation of the automatic stay when a creditor violates the stay with the
        knowledge that the bankruptcy petition has been filed. Willfulness does not require that
        the creditor intend to violate the automatic stay provision, rather it requires that the acts
        which violate the stay be intentional.... [A] creditor's `good faith' belief that he is not
        violating the automatic stay provision is not determinative of willfulness...."

 In re Lansaw, 853 F.3d 657, 664 n.4 (3d Cir. 2017) (emphasis added) (quoting In re Lansdale
 Family Rests., Inc, 977 F.2d 826, 829 (3d Cir. 1992)); see also In re Atlantic Business &
 Community Corp., 901 F.2d 694*694 325, 329 (3d Cir. 1990) ("the statute provides for damages
 upon a finding that the defendant knew of the automatic stay and that the defendant's actions
 which violated the stay were intentional") (citations omitted).

        C.      THE AUTOMATIC STAY ENCOMPASSES ACTIONS BY THE SHERIFF

         Bankruptcy Courts have long held Sheriffs’ in contempt of court for violating the
 automatic stay.
          In re Bunnell, 19 F. Supp. 861 - Dist. Court, MD Pennsylvania 1937 (Wyoming County
 Sheriff held in contempt of court for executing on an alias writ of fieri facias against the debtor’s
 exempt property in violation of the bankrupts restraining order);
         In re Dennis, 14 BR 125 - Bankr. Court, ED Pennsylvania 1981 (Delaware County
 Sheriff continuing with the sheriff’s sale after the debtor had filed her petition was a violation of
 the automatic stay);
         In re Wilson, (19 B.R. 45 ) Bankr. Court, ED Pennsylvania 1982 (Philadelphia County
 Sheriff held in contempt for issuing a deed to debtor’s residence; having that deed acknowledged




                                                                                                         13
Case 18-00137-mdc    Doc 105 Filed
       Case 2:21-cv-05144-WB       02/05/20
                              Document   4-3 Entered  02/05/20Page
                                             Filed 12/16/21    19:38:40   Desc Main
                                                                   14 of 113
                            Document     Page 8 of 12



 by the prothonotary and recorded after the Sheriff had actual notice that the debtors had filed a
 petition under Chapter 13 of the Bankruptcy Code);
         In re Denklau (158 BR 796) Bankr. Court, ND Iowa 1993 (Sheriff’s conduct was in
 willful violation of the automatic stay although correct under Iowa law. Where state law is in
 conflict with federal bankruptcy law, the state law must give way).


        D.      THE SHERIFF IS IN CONTEMPT OF COURT

         Sheriff conflates the question of contempt by arguing the merits and legitimacy of its
 post-petition activity. This line of reasoning is misplaced as the automatic stay imposed by the
 filing of a bankruptcy petition acts as a specific and definite order of court so as to restrain
 creditors from the continuance of judicial process or collection efforts against the debtor. Fidelity
 Mortgage Investors v. Camelia Builders, Inc., 550 F.2d 47 (2d Cir. 1976). In re Mealey, 16 B.R.
 800 (Bkrtcy.E.D.Pa.1982). In re Demp, 23 BR 239 - Bankr. Court, ED Pennsylvania 1982.

          Neither agency principles nor claims of sovereign immunity will shield the Sheriff from
 this liability. Moreover, § 106(a)(1) of the Bankruptcy Code provides that "sovereign immunity
 is abrogated as to a governmental unit to the extent set forth in this section with respect to [§
 362]." 11 U.S.C. § 106(a)(1). Subsection 2 provides that "[t]he court may hear and determine any
 issue arising with respect to the application of such section[] to governmental units." Id. at §
 106(a)(2).


 E.      THE SHERIFF’S IMMUNITY DEFENSE

        The Sheriff’s posits that Pennsylvania's Political Subdivision Tort Claims Act, 42 Pa.
 C.S. §§ 8541 et seq. (the "PSTCA") provides a complete, affirmative defense to the Debtor's
 claim. “However, in this bankruptcy proceeding, in which the Debtor asserts a cause of action
 created by the Bankruptcy Code, the statutory immunity provided by the PSTCA has no
 applicability.” See In re Odom (571 BR 687) Bankr. Court, ED Pennsylvania 2017.

         Any potential Eleventh Amendment immunity has been waived and imposes no obstacle
 to the bankruptcy court's adjudication of this proceeding for damages under 11 U.S.C. § 362(k).

         In Central Virginia Community College v. Katz, 546 U.S. 356, 126 S.Ct. 990, 163
 L.Ed.2d 945 (2006), the Supreme Court held that the "States agreed in the plan of the
 Convention not to assert any sovereign immunity defense they might have had in proceedings
 brought pursuant to `Laws on the subject of Bankruptcies.'" Id. at 377. As a result, bankruptcy in
 rem jurisdiction extends against a state in all matters arising in bankruptcy cases that are
 "necessary to effectuate the in rem jurisdiction of the bankruptcy courts." Id. at 378. The exercise
 of this bankruptcy jurisdiction is not dependent upon 11 U.S.C. § 106 or any Congressional
 action.

         In Katz, the Supreme Court identified three (3) "[c]ritical features" of the bankruptcy
 court's in rem jurisdiction: the exercise of exclusive jurisdiction over all of the debtor's property,




                                                                                                          14
Case 18-00137-mdc    Doc 105 Filed
       Case 2:21-cv-05144-WB       02/05/20
                              Document   4-3 Entered  02/05/20Page
                                             Filed 12/16/21    19:38:40   Desc Main
                                                                   15 of 113
                            Document     Page 9 of 12



 the equitable distribution of that property among the debtor's creditors, and the ultimate
 discharge that gives the debtor a `fresh start' by releasing him, her, or it from further liability for
 old debts. Id. at 363-64.

         A proceeding involving the enforcement of the automatic stay constitutes a "critical
 feature" in the exercise of in rem bankruptcy jurisdiction in that it facilitates the exercise of the
 court's exclusive jurisdiction over the debtor's property. As the Eleventh Circuit has explained:

         Ordinarily, an adversary action arising out of a creditor's violations of the automatic stay
 forces the creditor to honor the automatic stay and thereby assists the bankruptcy court in
 carrying out its in rem functions. That holds true even where the action takes the form of a
 motion seeking contempt and sanctions. Although these kinds of actions `may resemble money
 damage lawsuits in form, it is their function that is critical, and their function is to facilitate the in
 rem proceedings that form the foundation of bankruptcy.' (italics in original).

 In re Diaz, 647 F.3d 1073, 1085 (11th Cir. 2011); accord In re Schroeder, 2009 WL 3526504, at
 *4 (Bankr. D. Neb. Oct. 23, 2009) (under Katz, "damages for violating the automatic stay are
 within the scope of the [bankruptcy] court's authority over the states").

        Section 106(a) purports to be a Congressional waiver of Eleventh Amendment immunity
 (an immunity which the Katz court held was waived through the ratification of the Constitution
 and not dependent on Congressional action).

        After Katz, both Sacred Heart and § 106(a) essentially are irrelevant in the analysis of
 waiver of state sovereign immunity. See In re Odom, 571 BR 687 - Bankr. Court, ED
 Pennsylvania 2017:

         “In any event, as previously explained in the previous section of this Memorandum: (1)
         as a local agency, the PPA cannot invoke state sovereign immunity; and (2) even if the
         PPA were a state instrumentality, under Katz, it could not invoke sovereign immunity as
         a defense to an action under 11 U.S.C. § 362(k).” Id at 696.

          In the case at hand, the Sheriff is in contempt of court for violation of a federal court
 order and its attempt to assert local agency’s immunity under the Political Subdivision Tort
 Claims Act (Tort Claims Act), 42 Pa. C.S. §8541-8542 is abrogated by 11 U.S.C. § 106(a)(1) of
 the Bankruptcy Code. Section 106(a)(1) of the Bankruptcy Code provides that
 "[n]otwithstanding an assertion of sovereign immunity, sovereign immunity is abrogated as to a
 governmental unit to the extent set forth in this section with respect to the following," and then
 lists sixty Bankruptcy Code sections, including § 362.




                                                                                                              15
Case 18-00137-mdc    Doc 105 Filed
       Case 2:21-cv-05144-WB       02/05/20
                               Document  4-3 Entered 02/05/20Page
                                             Filed 12/16/21   19:38:40   Desc Main
                                                                  16 of 113
                            Document    Page 10 of 12



 F.   DAMAGES UNDER SECTION 362(K)(1)

         Section 362(k)(1) of the Bankruptcy Code provides redress for violations of the automatic
 stay. It mandates that, subject to exceptions not applicable in this case, "an individual injured by
 any willful violation of a stay provided by this section shall recover actual damages, including
 costs and attorneys' fees, and, in appropriate circumstances, may recover punitive damages." 11
 U.S.C. § 362(k)(1).

          The Debtor requests an award of actual damages, including attorney's fees and costs, and
 punitive damages pursuant to section 362(k)(1). An individual harmed by a willful violation of
 the automatic stay can recover actual damages, including costs and attorneys' fees, as well as
 punitive damages in appropriate circumstances. See 11 U.S.C. § 362(k)(1). The court in In re
 Rodriguez, No. 07-24687 (MBK), 2012 WL 589553 (Bankr. D.N.J. Feb. 22, 2012) explained that
 the test under section 362(k)(1): is "remarkably simple" and requires the imposition of sanctions
 on a party violating the automatic stay upon three provisions: First, the offending party must
 have violated the automatic stay. Second, the violation of the stay must have been willful.
 Finally, the willful violation must have caused Debtors some injury. Rodriguez, 2012 WL
 589553, at *3 (citing, In re Miller, 447 B.R. 426, 433 (Bankr. E.D. Pa. 2011)).

         As set forth above, Sheriff has violated the automatic stay. The court need only to address
 the remaining two elements under section 362(k)(1). As to the second element of that test,
 "willfulness can be satisfied by showing simply that the offending party knew about a debtor's
 bankruptcy but proceeded with the stay violation nonetheless." Rodriguez, 2012 WL 589553 at
 *4. In addition, "[w]illfulness does not require that the creditor intend to violate the automatic
 stay provision, rather it requires that the acts which violate the stay be intentional." In re
 Lansdale Family Rest., Inc., 977 F.2d 826, 829 (3d Cir. 1992).

        Here, Sheriff acknowledged receiving actual notice of Mr. Toppin’s bankruptcy filing on
 May 8, 2018. See Def.’s Memo at pg. 3, ¶11. Sheriff was provided notice of Plaintiff’s
 bankruptcy long before the alleged stay violations occurred.

         Despite actual notice of the filing, the Sheriff intentionally pursued a course of unlawful
 action in violation of 11 U.S.C. § 362(a). The Sheriff had actual notice, was warned, and should
 not have taken any action against the Debtor without first obtaining stay relief. The second
 element is satisfied. That the Sheriff willfully violated the automatic stay is a matter of well-
 established law.

 1. COMPENSATORY DAMAGES

         Plaintiff, Lyndel Toppin suffered actual damages in the form of out-of-pocket expenses;
 lost time; transportation expenses; attorney’s fees, and emotional distress. The Sheriff’s actions
 clearly reflect a willful violation of 11 U.S.C. § 362 automatic stay for which sanctions should be
 imposed. Where a willful violation of the stay is demonstrated, compensatory damages are
 mandatory. 11 U.S.C. § 362(h) (1988). See Also In re Like, 103 BR 830, (Bankr.SD.Tx 1989);
 Internal Revenue Service v. Murphy, No. 17-1601 (1st Cir. 2018) (IRS’s willful violation of the
 debtor’s bankruptcy discharge result in $175,000.00 in damages).




                                                                                                        16
Case 18-00137-mdc    Doc 105 Filed
       Case 2:21-cv-05144-WB       02/05/20
                               Document  4-3 Entered 02/05/20Page
                                             Filed 12/16/21   19:38:40   Desc Main
                                                                  17 of 113
                            Document    Page 11 of 12



 2. EMOTIONAL DISTRESS

       Defendant’s unlawful action caused irreparable harm to the Plaintiff in the form of
 emotional distress, including: anxiety, difficulty sleeping, depression, and mental anguish.

         Most bankruptcy courts have held that emotional distress damages may be awarded only
 if a causal connection is established between the creditor's actions and the emotional distress
 suffered. See Stinson v.Bi-Rite Restaurant Supply, Inc. (In re Stinson), 295 B.R. 109, 120 n. 8
 (9th Cir. BAP 2003) quoted in In re Wingard, 382 B.R. 892, 906 (Bankr. W.D.Pa.2008). The
 Sheriff’s actions caused irreparable harm to the Plaintiff in the form of emotional distress

 3. PUNITIVE DAMAGES HAVE BEEN AWARDED IN THIS CIRCUIT WHERE
 CULPABILITY OF THE DEFENDANT’S CONDUCT MET THE THRESHOLD

          Genuine issues of material fact exist precluding Summary Judgment to the Sheriff on this
 issue.

         In NCVAMD, the court awarded punitive damages against a state agency for violation of
 the automatic stay. The court reasoned that, in light of the consent by ratification theory accepted
 by the Supreme Court in Katz, a bankruptcy court may award punitive damages, notwithstanding
 § 106(a)(3), "when doing so is necessary to effectuate the court's in rem jurisdiction." 2013 WL
 6860816 at * See e.g. Jones v. Keene Corp., 933 F.2d 209, 214 (3d Cir. 1991) ("If a provision of
 the [bankruptcy] Plan, a creature of federal law, conflicts with the law of a state and the state law
 `frustrates the full effectiveness of federal law the state law is rendered invalid by the Supremacy
 Clause.'") (quoting Perez v. Campbell, 402 U.S. 637, 652, 91 S.Ct. 1704, 29 L.Ed.2d 233
 (1971)); In re Midway Airlines, Inc., 175 B.R. 239, 243 (Bankr. N.D. Ill. 1994) ("[a]ny state
 common or other law to the contrary must defer to the relevant provisions of the Bankruptcy
 Code ... pursuant to the Supremacy Clause of the United States Constitution"); In re Woodings-
 Verona Tool Works, Inc., 157 B.R. 575, 577 n.4 (Bankr. W.D. Pa. 1993) (noting the same); see
 generally Buskirk v. Seiple, 560 F.Supp. 247, 250 (E.D. Pa. 1983) ("state law may not `frustrate
 or interfere with the implementation of national policies.'") (quoting Knoll v. Springfield
 Township School Dist., 699 F.2d 137, 141 (3d Cir. 1983)) (further citations omitted).

         In order to sustain an award for punitive damages, "the defendant must have acted with
 actual knowledge that he was violating the federally protected right or with reckless disregard of
 whether he was doing so." Wagner, 74 B.R. at 904 (citing Cochetti v. Desmond, 572 F.2d 102
 (3rd Cir.1978)). Punitive damages are proper as a deterrent to those entities who willfully violate
 the automatic stay provisions, even if actual damages are minimal. NWFX, 81 B.R. at 504. "The
 amount of punitive damages awarded is a function of the offending party's financial capabilities.
 The award must be sufficient to sting the pocketbook of the wrongdoer." Mercer v. D.E.F., Inc.
 (In re Mercer), 48 B.R. 562, 566 (Bankr.D.Minn.1985).

        The Sheriff had full knowledge that Toppin had filed a Chapter 13 petition, and yet, it
 refused to adhere to the requirements of the automatic stay. The Sheriff acted with reckless
 disregard and in "arrogant defiance" of a federally protected right. The Sheriff's actions caused
 unnecessary expense to Toppin which could have been avoided if the Sheriff had first sought




                                                                                                         17
Case 18-00137-mdc    Doc 105 Filed
       Case 2:21-cv-05144-WB       02/05/20
                               Document  4-3 Entered 02/05/20Page
                                             Filed 12/16/21   19:38:40   Desc Main
                                                                  18 of 113
                            Document    Page 12 of 12



 relief from the stay under 11 U.S.C. § 362(d). See Also In re Like, 103 BR 830, (Bankr.SD.Tx
 1989)(punitive damages of $100,000 are necessary to deter the IRS from willfully violating 11
 U.S.C. § 362(a) in the future).

         Defendant has acted in "arrogant defiance" of the Bankruptcy Code and deserves to be
 punished accordingly for its egregious behavior in tormenting the Plaintiff and the resulting
 consequences on the Plaintiff’s immediate family. Punitive damages are especially appropriate
 when a party has acted in "arrogant defiance" of the Bankruptcy Code. In re Medlin, 201
 672*672 B.R. 188, 194 (Bankr.E.D.Tenn.1996) (cited in In re Curtis, 322 B.R. 470, 486 (Bankr.
 D.Mass.2005)). This Court has entered an Order compelling the deposition of one of the
 Sheriff’s 30(b)(6) witnesses, whose identity was not previously disclosed by the Sheriff, and who
 is alleged to have first-hand knowledge and to have dealt directly with the petitioner of the Writ
 the Execution at issue herein, and at the very least her forthcoming testimony on this issue
 precludes a partial summary judgment for the Sheriff on the issue of punitive damages, since
 there have been circumstances where this Court has awarded punitive damages even against
 State entities for violations of automatic stay. Whether or not the facts in this case warrant
 punitive damages against the Sheriff is a trial issue.


       WHEREFORE, Plaintiff, by and through his counsel, respectfully request that this
 Honorable Court deny Defendant’s Motion for Summary Judgment.


 Dated: February 5, 2020

        By: /s/ Predrag Filipovic                    BY: /s/ Stephen M. Dunne
        Predrag Filipovic, Esquire                   Stephen M. Dunne, Esquire
        1735 Market St., Suite 3750                  1515 Market Street, Suite. 1200
        Philadelphia, PA 19103                       Philadelphia, PA 19102
        267-265-0520 Phone                           (215) 551-7109 Phone
        Attorney for Plaintiff                       Attorney for Plaintiff




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Case 18-00137-mdc   Doc 105-1Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                19 of 113 Desc
                            Exhibit A Page 1 of 1




                                                                                 19
Case 18-00137-mdc   Doc 105-2Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                20 of 113 Desc
                            Exhibit B Page 1 of 3




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Case 18-00137-mdc   Doc 105-2Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                21 of 113 Desc
                            Exhibit B Page 2 of 3




                                                                                 21
Case 18-00137-mdc   Doc 105-2Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                22 of 113 Desc
                            Exhibit B Page 3 of 3




                                                                                 22
Case 18-00137-mdc   Doc 105-3Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                23 of 113 Desc
                            Exhibit C Page 1 of 3




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Case 18-00137-mdc   Doc 105-3Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                24 of 113 Desc
                            Exhibit C Page 2 of 3




                                                                                 24
Case 18-00137-mdc   Doc 105-3Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                25 of 113 Desc
                            Exhibit C Page 3 of 3




                                                                                 25
Case 18-00137-mdc   Doc 105-4Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                26 of 113 Desc
                            Exhibit D Page 1 of 1




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Case 18-00137-mdc   Doc 105-5Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                27 of 113 Desc
                            Exhibit E Page 1 of 3




                                                                                 27
Case 18-00137-mdc   Doc 105-5Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                28 of 113 Desc
                            Exhibit E Page 2 of 3




                                                                                 28
Case 18-00137-mdc   Doc 105-5Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                29 of 113 Desc
                            Exhibit E Page 3 of 3




                                                                                 29
Case 18-00137-mdc   Doc 105-6Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                30 of 113 Desc
                            Exhibit F Page 1 of 1




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Case 18-00137-mdc   Doc 105-7Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                31 of 113 Desc
                            Exhibit G Page 1 of 1




                                                                                 31
Case 18-00137-mdc   Doc 105-8Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed       02/05/20
                                                 12/16/21  Page19:38:40
                                                                32 of 113 Desc
                            Exhibit H Page 1 of 1




                                                                                 32
Case 18-00137-mdc   Doc 105-9Document
     Case 2:21-cv-05144-WB     Filed 02/05/20  Entered
                                       4-3 Filed        02/05/20
                                                  12/16/21  Page19:38:40
                                                                 33 of 113 Desc
                            Exhibit I Page 1 of 1




                                                                                  33
Case 18-00137-mdc   Doc 105-10Document
      Case 2:21-cv-05144-WB      Filed 02/05/20
                                         4-3 FiledEntered 02/05/20
                                                   12/16/21        19:38:40
                                                             Page 34  of 113 Desc
                             Exhibit J Page 1 of 1




                                                                                    34
Case 18-00137-mdc   Doc 105-11Document
      Case 2:21-cv-05144-WB     Filed 02/05/20
                                        4-3 FiledEntered 02/05/20
                                                  12/16/21        19:38:40
                                                            Page 35  of 113 Desc
                            Exhibit K Page 1 of 1




                                                                                   35
Case 18-00137-mdc   Doc 105-12Document
      Case 2:21-cv-05144-WB      Filed 02/05/20
                                         4-3 FiledEntered 02/05/20
                                                   12/16/21        19:38:40
                                                             Page 36  of 113 Desc
                             Exhibit L Page 1 of 1




                                                                                    36
Case 18-00137-mdc   Doc 105-13Document
      Case 2:21-cv-05144-WB     Filed 02/05/20
                                        4-3 FiledEntered 02/05/20
                                                  12/16/21        19:38:40
                                                            Page 37  of 113 Desc
                            Exhibit M Page 1 of 1




                                                                                   37
Case
 Case18-00137-mdc
      18-00137-mdc
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                     Doc105-14
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           2:21-cv-05144-WB    Filed
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                                                         02/05/20
                                                  12/16/21  Page18:48:20
                                                                  19:38:40
                                                                  38 of 113 Desc
                                                                             Desc
                            Exhibit G
                                    N Page 1 of 1




                                                                                    38
Case 18-00137-mdc   Doc 105-15Document
      Case 2:21-cv-05144-WB     Filed 02/05/20
                                        4-3 FiledEntered 02/05/20
                                                  12/16/21        19:38:40
                                                            Page 39  of 113 Desc
                            Exhibit O Page 1 of 1




                                                                                   39
Case 18-00137-mdc    Doc 112 Filed
       Case 2:21-cv-05144-WB       02/14/20
                              Document   4-3 Entered  02/14/20Page
                                             Filed 12/16/21    14:11:28   Desc Main
                                                                   40 of 113
                            Document      Page 1 of 8



                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ------------------------------------------------------x
 In re:                                                :
                                                       : Chapter 13
 LYNDEL TOPPIN,                                        :
                                                       : Bankruptcy No. 18-13098 (MDC)
                   Debtor.                             :
 ------------------------------------------------------x
 ------------------------------------------------------x
                                                       :
 LYNDEL TOPPIN,                                        :
                                                       : Adv. Pro. No. 18-00137 (MDC)
                   Plaintiff,                          :
                                                       :
                   v.                                  :
                                                       :
 JEWELL WILLIAMS SHERIFF                               :
 OF THE CITY OF PHILADELPHIA and :
 ABDELDAYEM HASSAN a/k/a                               :
 ABDELDYEM HASSAN,                                     :
                                                       :
                   Defendant                           :
 ------------------------------------------------------x

           THE SHERIFF OF THE CITY OF PHILADELPHIA’S REPLY BRIEF
               IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

        Jewell Williams, Sheriff of the City of Philadelphia (the “Sheriff”), by and through his

 Counsel, Megan N. Harper, Deputy City Solicitor, hereby files the following Reply Brief in

 Support of Motion for Summary Judgment.

 I.     PLAINTIFF IS SINGULARLY FOCUSED ON THE SHERIFF WHEN, IN FACT,
        FOCUS SHOULD BE UPON THE ACTION OR INACTION OF THE CREDITOR

        The Plaintiff’s1 Response in Opposition to Defendant’s Motion for Summary Judgment

 [Docket No. 105] (“Plaintiff’s Memorandum”) makes it once again abundantly clear that the

 Plaintiff is singularly focused on the Sheriff’s conduct. Plaintiff is asking this Court to hold the

 Sheriff, who is not a creditor, accountable for injuries allegedly caused by actions to enforce a




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Case 18-00137-mdc    Doc 112 Filed
       Case 2:21-cv-05144-WB       02/14/20
                              Document   4-3 Entered  02/14/20Page
                                             Filed 12/16/21    14:11:28   Desc Main
                                                                   41 of 113
                            Document      Page 2 of 8



 facially valid writ of possession issued by a state court. The Sheriff’s actions were within the

 scope of the writ of possession and, per the Plaintiff, efforts to enforce the writ ceased by June 7,

 2018. See Plaintiff’s Memorandum, ¶ 22. The Plaintiff was never dispossessed of the Property

 and there was no prior action allegedly taken by the Sheriff that needed to be or could be

 remedied—there was no alleged violation that needed undoing.

         Plaintiff has been laser focused on the Sheriff’s conduct from the outset of this case.

 Perhaps that is because the judgment creditor, Abdeldayem Hassan, who was, as a matter of law,

 required to take action to stop enforcement efforts works at Boston Market doing deliveries,

 washing dishes and mopping inside the restaurant and also as a Lyft driver.2 This case raises

 concerns similar to those expressed by the court in In re Pursan:

                  While attorneys' fees and costs are recoverable under § 362(k), the
                  fees and costs must be reasonable and necessary. In re
                  Robinson, 228 B.R. 75, 85 (Bankr.E.D.N.Y.1998). “The policy of
                  section 362[k], to discourage willful violations of the automatic
                  stay, is tempered by a reasonableness standard born of courts'
                  reluctance to foster a ‘cottage industry’ built around satellite fee
                  litigation.” Id. (citing Putnam v. Rymes Heating Oils, Inc. (In re
                  Putnam), 167 B.R. 737, 741 (Bankr.D.N.H.1994)). It is well
                  established that “[r]easonable and necessary fees do not include
                  unnecessary litigation costs.” Id.; see also Yarinsky v. Saratoga
                  Springs Plastic Surgery, PC (In re Saratoga Springs Plastic
                  Surgery, PC), No. 1:03CV896, 2005 WL 357207, at *54
                  (N.D.N.Y. Feb. 11, 2005), aff'd, 172 Fed.Appx. 339 (2d Cir.2006)
                  (“[A]n ‘excessively litigious approach’ to violations of the
                  automatic stay that do not cause damages in an[d] of themselves
                  must be guarded against.”).

 In re Prusan, 495 B.R. 203, 208 (Bankr. E.D.N.Y. 2010). In Pursan, the creditor filed a motion

 for contempt in state court litigation against the debtor after the bankruptcy petition was filed.

 The creditor then notified the state court of the automatic stay, as required by law, before a


 1
   All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Sheriff’s
 Memorandum of Law in Support of Motion for Summary Judgment [Docket No. 72].
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   A true and correct copy of relevant portions of Abdeldayem Hassan’s deposition are attached hereto as Exhibit A.

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Case 18-00137-mdc    Doc 112 Filed
       Case 2:21-cv-05144-WB       02/14/20
                              Document   4-3 Entered  02/14/20Page
                                             Filed 12/16/21    14:11:28   Desc Main
                                                                   42 of 113
                            Document      Page 3 of 8



 motion for sanctions for alleged stay violations was filed. The court found that, even assuming

 the creditor had notice of the bankruptcy when the motion for contempt was filed in state court,

 fees incurred in bringing the stay violation motion were neither reasonable nor necessary. Id.; see

 also, In re Miller, 447 B.R. 425, 435 (Bankr. E.D. Pa. 2011) (where creditor ceased violation of

 the stay unilaterally without any action required by the debtor and debtor later filed sanctions

 motion for stay violations, debtor was litigating something that did not need litigating).

        Despite evidence to suggest that the creditor in this case failed to act in accordance with

 the law, the Plaintiff is and always has been more concerned with the Sheriff’s conduct. There is

 no dispute that a suggestion of bankruptcy was never filed in the ejectment/possession action and

 there is no evidence that Mr. Hassan or the Court of Common Pleas judge directed the Sheriff to

 cease enforcement of the writ against unknown occupants of the Property. The duty to stop

 enforcement of the writ rested with the co-defendant, Mr. Hassan. Courts place the burden on the

 creditor to notify third-parties that the automatic stay is in place and efforts in furtherance of

 execution or enforcement must cease.

        For example, in In re Westman, 300 B.R. 338 (Bankr. D. Minn. 2003), a county sheriff

 had lawfully seized a debtor’s vehicle pre-petition pursuant to a writ of execution. The sheriff

 failed to release the vehicle post-petition upon notice of the bankruptcy without satisfaction of

 towing/storage fees. The bankruptcy court found the sheriff was entitled to a release from the

 creditor or an order from the court releasing him of his obligation under the writ of execution.

 The court felt it inappropriate to place the burden on the sheriff to determine the intent of the

 creditor or determine the nature of the debt when the burden is on the creditor, not the sheriff, to

 prevent stay violations. In re Westman, 300 B.R. at 345.




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                                                                                                        42
Case 18-00137-mdc    Doc 112 Filed
       Case 2:21-cv-05144-WB       02/14/20
                              Document   4-3 Entered  02/14/20Page
                                             Filed 12/16/21    14:11:28   Desc Main
                                                                   43 of 113
                            Document      Page 4 of 8



        In In re Hardesty, 442 B.R. 110 (Bankr. N.D. Ohio 2010), the fact that three independent

 appraisers assigned by the sheriff were sent to the debtor’s property post-petition in furtherance

 of execution on a pre-petition foreclosure process did not shield the mortgagee creditor from

 liability. The court reasoned that, “Once a creditor commences legal proceedings, it cannot

 disown all responsibility for actions taken by other parties in furtherance of the action.” In re

 Hardesty, 442 B.R. at 115.

        Lastly, in In re Brown, No. BR 12-14058, 2012 WL 3908029 (Bankr. E.D. Pa. Sept. 7,

 2012), a pre-petition writ of execution was issued that directed the Sheriff of Chester County to

 levy upon debtors’ property. The judgment creditors received notice of bankruptcy and failed to

 notify the Sheriff. The Sheriff served the execution writ post-petition. The judgment creditors

 disclaimed any liability for the Sheriff’s conduct. The Court found the creditor had the duty to

 take affirmative action to notify relevant third parties that the bankruptcy stay was in place. In re

 Brown, 2012 WL 3908029, at *5–6.

        The Sheriff, in contrast to a judgment creditor engaged in enforcement efforts against a

 debtor post-petition, had no discretion in performing his official duty when executing the writ on

 unknown occupants at the Property. It was not the Sheriff’s burden to look beyond the facially

 valid writ to determine the nature of Mr. Hassan’s legal right to possession versus the rights of

 the unknown occupants at the Property, it was Mr. Hassan’s burden. Plaintiff’s choice to 1) look

 passed the law that places the burden on the creditor to stop enforcement efforts; 2) largely

 ignore whether and when the judgment creditor received notice of the bankruptcy and his action

 or inaction in response thereto; and, 3) look directly at the Sheriff for compensatory and punitive

 damages is an unreasonable approach to litigation over alleged stay violations.




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Case 18-00137-mdc    Doc 112 Filed
       Case 2:21-cv-05144-WB       02/14/20
                              Document   4-3 Entered  02/14/20Page
                                             Filed 12/16/21    14:11:28   Desc Main
                                                                   44 of 113
                            Document      Page 5 of 8



 II.    QUASI-JUDICIAL IMMUNITY AND THE MINISTERIAL ACTS EXCEPTION ≠
        ELEVENTH AMENDMENT IMMUNITY

        The Plaintiff misunderstands the Sheriff’s arguments in support of summary judgment.

 The Sheriff does not disagree that Eleventh Amendment immunity has been abrogated by

 ratification of the Bankruptcy Clause at the Constitutional Convention. Cent. Virginia Cmty.

 Coll. v. Katz, 546 U.S. 356, 378, 126 S. Ct. 990, 1005, 163 L. Ed. 2d 945 (2006)

 (“In ratifying the Bankruptcy Clause, the States acquiesced in a subordination of whatever

 sovereign immunity they might otherwise have asserted in proceedings necessary to effectuate

 the in rem jurisdiction of the bankruptcy courts.”). Nor does the Sheriff suggest that a claim for

 violation of the automatic stay does not implicate the Court’s in rem jurisdiction. Id. at 378, 126

 S.Ct. 990; see also, In re Odom, 571 B.R. 687, 694 (Bankr. E.D. Pa. 2017). The Sheriff is not

 arguing that sovereign immunity is an absolute defense to the Plaintiff’s claims for alleged

 violations of the automatic stay under Section 362(k) of the Bankruptcy Code.

        The Sheriff does argue, however, that quasi-judicial immunity extends to the Sheriff.

 Quasi-judicial immunity is not the same as sovereign immunity under the Eleventh Amendment.

 Rather, quasi-judicial immunity is an extension of the doctrine of judicial immunity, which has

 its origins in common law. Forrester v. White, 484 U.S. 219, 225, 108 S. Ct. 538, 543, 98 L. Ed.

 2d 555 (1988) (judicial immunity was the settled doctrine of English courts and has not been

 denied by courts of this country). Quasi-judicial immunity is an offshoot of judicial immunity

 which extends to nonjudicial officers who perform functions closely associated with the judicial

 process. In re Cedar Funding, Inc., 419 B.R. 807, 822 (B.A.P. 9th Cir. 2009); Cleavinger v.

 Saxner, 474 U.S. 193, 200, 106 S. Ct. 496, 500, 88 L. Ed. 2d 507 (1985). The doctrine of quasi-

 judicial immunity extends immunity to persons executing valid court orders from civil actions

 for damages challenging conduct authorized by the order. See Coverdell v. The Department of


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                                                                                                       44
Case 18-00137-mdc    Doc 112 Filed
       Case 2:21-cv-05144-WB       02/14/20
                              Document   4-3 Entered  02/14/20Page
                                             Filed 12/16/21    14:11:28   Desc Main
                                                                   45 of 113
                            Document      Page 6 of 8



 Social and Health Services, State of Washington, 834 F.2d 758, 764–765 (9th Cir. 1987); see

 also Gallas v. Supreme Court of Pennsylvania, 211 F.3d 760, 772–73 (3d Cir. 2000).

         Here, “accepting all well-pleaded allegations in the complaint as true and viewing them

 in the light most favorable to the [P]laintiff, but disregarding unsupported conclusions,

 unwarranted inferences, and legal conclusions couched as factual allegations” the facts alleged in

 this case describe the execution of a facially valid state court order and conduct within the scope

 of that order, thus entitling the Sheriff to quasi-judicial immunity. Garrett v. PennyMac Loan

 Servs., No. 3:18-CV-00718, 2019 WL 4732048, at *8 (M.D. Pa. Aug. 29, 2019), report and

 recommendation adopted as modified, No. 3:18-CV-0718, 2019 WL 4688376 (M.D. Pa. Sept.

 26, 2019) (extending quasi-judicial immunity to Sheriff of Monroe County in context of a

 sheriff’s sale).

         The Sheriff also argues that the mandate to enforce the writ of possession is so clear that

 the act of execution is a ministerial act not subject to the automatic stay. This argument is also

 not founded in Eleventh Amendment sovereign immunity. Rather, it “stems from the common-

 sense principle that a judicial ‘proceeding’ within the meaning of section 362(a) ends once a

 decision on the merits has been rendered. Ministerial acts or automatic occurrences that entail no

 deliberation, discretion, or judicial involvement do not constitute continuations of such a

 proceeding.” In re Pettit, 217 F.3d 1072, 1080 (9th Cir. 2000).

         Taking the allegations in the complaint as true and viewing them in the light most

 favorable to the Plaintiff and disregarding legal conclusions couched as factual allegations, the

 facts alleged in this case describe the execution of an order of the Court of Common Pleas as

 mandated by law. Upon issuance of the writ the prothonotary shall transmit it directly to the

 sheriff to whom it is directed or deliver it to the plaintiff for transmittal. Pa. R.C.P. No. 3103.



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Case 18-00137-mdc    Doc 112 Filed
       Case 2:21-cv-05144-WB       02/14/20
                              Document   4-3 Entered  02/14/20Page
                                             Filed 12/16/21    14:11:28   Desc Main
                                                                   46 of 113
                            Document      Page 7 of 8



 The sheriff shall note on the writ the date and time when it is received. Pa. R.C.P. No. 3105. The

 Sheriff “either personally or by deputy, shall serve process and execute orders directed to him

 pursuant to law.” 42 Pa. Stat. and Cons. Stat. Ann. § 2921. Here, the actions taken by the Sheriff

 were ministerial because the law not only allowed the act of executing the writ, but demanded it.

 In re Williams, 371 B.R. 102, 111 (Bankr. E.D. Pa. 2007) (citing United States ex rel. McLennan

 v. Wilbur, 283 U.S. 414, 420, 51 S.Ct. 502, 504, 75 L.Ed. 1148 (1931)). The Sheriff’s post-

 petition efforts to enforce the writ were not in violation of the automatic stay.

 III.   EMOTIONAL DISTRESS AND PUNITIVE DAMAGES MAY NOT BE
        AWARDED IN THIS CASE

        Plaintiff makes an overly simplified argument that because emotional distress and

 punitive damages may be awarded for violations of the automatic stay, emotional distress and

 punitive damages must be awarded against the Sheriff. Congress provided for a limited waiver of

 sovereign immunity as to governmental units. 11 U.S.C. § 106(a). While the Bankruptcy Code

 allows a court to enter a judgment against a governmental unit and award a "money recovery,"

 the Bankruptcy Code does not abrogate a governmental unit's sovereign immunity as to

 emotional distress damages. In re Rivera, 432 F.3d 20 (1st Cir. 2005). Thus, absent a waiver of

 immunity under 106(a), the Plaintiff’s claim must proceed through the analysis of the

 governmental immunity enjoyed by the Sheriff. As set forth more fully in the Memorandum of

 Law in Support of Summary Judgement, the Sheriff of the City of Philadelphia is protected with

 immunity from liability granted under Pennsylvania’s Political Subdivision Tort Claims Act (the

 “Tort Claims Act”), 42 Pa. C.S.A. §§ 8541–64.

        With respect to punitive damages, the plain language of 11 U.S.C. § 106(a)(3) provides

 that a court may not issue punitive damages against a governmental unit. The Plaintiff does not

 dispute that the allegations in the Complaint are against the Sheriff acting in his official capacity,


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                                                                                                          46
Case 18-00137-mdc    Doc 112 Filed
       Case 2:21-cv-05144-WB       02/14/20
                              Document   4-3 Entered  02/14/20Page
                                             Filed 12/16/21    14:11:28   Desc Main
                                                                   47 of 113
                            Document      Page 8 of 8



 and, as such, this suit against the Sheriff is a suit against the Sheriff’s Office, which is clearly a

 "governmental unit" as defined by 11 U.S.C. § 101(27). The Plaintiff’s only support for an award

 of punitive damages against the Sheriff is the NCVAMD, Inc. case.3 A case that no other court

 has agreed with. In fact, this Court has expressly disagreed with the NCVAMD, Inc. court in

 favor of the plain language of the Bankruptcy Code. In re Odom, 571 B.R. at 698. There is no

 support for an award of punitive damages in this case.

           WHEREFORE, the City of Philadelphia respectfully requests that the Court grant

 summary judgment in the Sheriff’s favor, dismiss the Complaint with prejudice and grant such

 other and further relief as this Court deems appropriate.




                                                    Respectfully submitted,

                                                    THE CITY OF PHILADELPHIA

 Dated: February 14, 2020                   By:      /s/ Megan N. Harper
                                                    MEGAN N. HARPER
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                                                    PA Attorney I.D. 81669
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                                                    215-686-0503 (phone)
                                                    Email: Megan.Harper@phila.gov




 3
     In re NCVAMD, Inc., No. 10-03098-8-SWH, 2013 WL 6860816, at *1 (Bankr. E.D.N.C. Dec. 31, 2013).


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Case 18-00137-mdc   Doc 112-1Document
     Case 2:21-cv-05144-WB       Filed 02/14/20  Entered
                                         4-3 Filed       02/14/20
                                                   12/16/21  Page14:11:28
                                                                  48 of 113 Desc
                     Exhibit A - Hassan Dep. Page 1 of 9




                                                                                   48
Case 18-00137-mdc   Doc 112-1Document
     Case 2:21-cv-05144-WB       Filed 02/14/20  Entered
                                         4-3 Filed       02/14/20
                                                   12/16/21  Page14:11:28
                                                                  49 of 113 Desc
                     Exhibit A - Hassan Dep. Page 2 of 9




                                                                                   49
Case 18-00137-mdc   Doc 112-1Document
     Case 2:21-cv-05144-WB       Filed 02/14/20  Entered
                                         4-3 Filed       02/14/20
                                                   12/16/21  Page14:11:28
                                                                  50 of 113 Desc
                     Exhibit A - Hassan Dep. Page 3 of 9




                                                                                   50
Case 18-00137-mdc   Doc 112-1Document
     Case 2:21-cv-05144-WB       Filed 02/14/20  Entered
                                         4-3 Filed       02/14/20
                                                   12/16/21  Page14:11:28
                                                                  51 of 113 Desc
                     Exhibit A - Hassan Dep. Page 4 of 9




                                                                                   51
Case 18-00137-mdc   Doc 112-1Document
     Case 2:21-cv-05144-WB       Filed 02/14/20  Entered
                                         4-3 Filed       02/14/20
                                                   12/16/21  Page14:11:28
                                                                  52 of 113 Desc
                     Exhibit A - Hassan Dep. Page 5 of 9




                                                                                   52
Case 18-00137-mdc   Doc 112-1Document
     Case 2:21-cv-05144-WB       Filed 02/14/20  Entered
                                         4-3 Filed       02/14/20
                                                   12/16/21  Page14:11:28
                                                                  53 of 113 Desc
                     Exhibit A - Hassan Dep. Page 6 of 9




                                                                                   53
Case 18-00137-mdc   Doc 112-1Document
     Case 2:21-cv-05144-WB       Filed 02/14/20  Entered
                                         4-3 Filed       02/14/20
                                                   12/16/21  Page14:11:28
                                                                  54 of 113 Desc
                     Exhibit A - Hassan Dep. Page 7 of 9




                                                                                   54
Case 18-00137-mdc   Doc 112-1Document
     Case 2:21-cv-05144-WB       Filed 02/14/20  Entered
                                         4-3 Filed       02/14/20
                                                   12/16/21  Page14:11:28
                                                                  55 of 113 Desc
                     Exhibit A - Hassan Dep. Page 8 of 9




                                                                                   55
Case 18-00137-mdc   Doc 112-1Document
     Case 2:21-cv-05144-WB       Filed 02/14/20  Entered
                                         4-3 Filed       02/14/20
                                                   12/16/21  Page14:11:28
                                                                  56 of 113 Desc
                     Exhibit A - Hassan Dep. Page 9 of 9




                                                                                   56
Case 18-00137-mdc   Doc 112-2Document
     Case 2:21-cv-05144-WB     Filed 02/14/20  Entered
                                       4-3 Filed       02/14/20
                                                 12/16/21  Page14:11:28
                                                                57 of 113 Desc
                          Service List Page 1 of 2



                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

------------------------------------------------------x
In re:                                                :
                                                      :   Chapter 13
LYNDEL TOPPIN,                                        :
                                                      :   Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
------------------------------------------------------x
                                                      :
LYNDEL TOPPIN,                                        :
                                                      :   Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the Sheriff of the City of Philadelphia’s

Reply Brief in Support of Motion for Summary Judgment was served via CM/ECF filing and

electronic mail upon the parties listed below:

                                         Stephen M. Dunne, Esquire
                                             515 Market Street
                                                 Suite 1200
                                           Philadelphia, PA 19102

                                           Predrag Filipovic, Esq.
                                            BNY Mellon Center
                                       1735 Market Street, Suite 3750
                                          Philadelphia, PA 19103




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Case 18-00137-mdc   Doc 112-2Document
     Case 2:21-cv-05144-WB     Filed 02/14/20  Entered
                                       4-3 Filed       02/14/20
                                                 12/16/21  Page14:11:28
                                                                58 of 113 Desc
                          Service List Page 2 of 2



                            David M. Offen, Esquire
                              The Curtis Center
                              601 Walnut Street
                            Philadelphia, PA 19106




                                    THE CITY OF PHILADELPHIA


Dated: February 14, 2020     By:     /s/ Megan N. Harper
                                    MEGAN N. HARPER
                                    Deputy City Solicitor
                                    PA Attorney I.D. 81669
                                    City of Philadelphia Law Department
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                                    Philadelphia, PA 19102-1595
                                    215-686-0503 (phone)
                                    Email: Megan.Harper@phila.gov




                                                                                 58
Case 18-00137-mdc    Doc 122 Filed
       Case 2:21-cv-05144-WB       03/12/20
                              Document   4-3 Entered  03/12/20Page
                                             Filed 12/16/21    10:43:44   Desc Main
                                                                   59 of 113
                            Document      Page 1 of 3




                                                                                      59
Case 18-00137-mdc    Doc 122 Filed
       Case 2:21-cv-05144-WB       03/12/20
                              Document   4-3 Entered  03/12/20Page
                                             Filed 12/16/21    10:43:44   Desc Main
                                                                   60 of 113
                            Document      Page 2 of 3




                                                                                      60
Case 18-00137-mdc    Doc 122 Filed
       Case 2:21-cv-05144-WB       03/12/20
                              Document   4-3 Entered  03/12/20Page
                                             Filed 12/16/21    10:43:44   Desc Main
                                                                   61 of 113
                            Document      Page 3 of 3




                                                                                      61
Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    16:41:12   Desc Main
                                                                   62 of 113
                            Document     Page 1 of 10



                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ------------------------------------------------------x
 In re:                                                :
                                                       : Chapter 13
 LYNDEL TOPPIN,                                        :
                                                       : Bankruptcy No. 18-13098 (MDC)
                   Debtor.                             :
 ------------------------------------------------------x
 ------------------------------------------------------x
                                                       :
 LYNDEL TOPPIN,                                        :
                                                       : Adv. Pro. No. 18-00137 (MDC)
                   Plaintiff,                          :
                                                       :
                   v.                                  :
                                                       :
 JEWELL WILLIAMS SHERIFF                               :
 OF THE CITY OF PHILADELPHIA and :
 ABDELDAYEM HASSAN a/k/a                               :
 ABDELDYEM HASSAN,                                     :
                                                       :
                   Defendant                           :
 ------------------------------------------------------x

     THE SHERIFF OF THE CITY OF PHILADELPHIA’S SUPPLEMENTAL
 MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

          Jewell Williams, Sheriff of the City of Philadelphia (the “Sheriff”), by and through his

 Counsel, Megan N. Harper, Deputy City Solicitor, hereby files the following Supplemental

 Memorandum of Law in Support of Motion for Summary Judgment1.

          Oral argument on the Sheriff’s Motion for Summary Judgment was held on February 18,

 2020. The Court requested that the parties submit supplemental briefs responsive to the

 following issue: Whether, by ratifying the United States Constitution and the Bankruptcy Clause




 1
  All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Sheriff’s
 Memorandum of Law in Support of Motion for Summary Judgment [Docket No. 72].

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Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    16:41:12   Desc Main
                                                                   63 of 113
                            Document     Page 2 of 10



 contained therein, the States agreed to waive their sovereign immunity with respect to claims for

 violation of the stay imposed by 11 U.S.C. §362 for enforcement of a writ of possession.2

         The Eleventh Amendment to the Constitution has been long understood to stand for the

 broad supposition that a federal court generally may not hear a suit brought by any person

 against a nonconsenting State. Allen v. Cooper, No. 18-877, 2020 WL 1325815, at *3 (U.S. Mar.

 23, 2020). The Amendment protects States and their agencies and departments from suit in

 federal court. Pennhurst State School & Hospital v. Halderman, 465 U.S. 89, 100, 104 S.Ct. 900,

 79 L.Ed.2d 67 (1984). A suit against a State official in his or her official capacity is a suit against

 the official’s office. Will v. Michigan Dept. of State Police, 491 U.S. 58, 71, 109 S.Ct. 2304, 105

 L.Ed.2d 45 (1989). In this case, the Sheriff was sued in his official capacity. Thus, if the Sheriff

 was acting as an arm of the State of Pennsylvania, this lawsuit is an action again Pennsylvania

 and may be barred by Eleventh Amendment sovereign immunity.

         In the Sheriff’s Memorandum of Law in Support of Summary Judgment, the Sheriff

 outlined the role sheriffs play in Pennsylvania, which bears repeating here as it establishes that

 the Sheriff, in executing the Writ of Possession, was acting as an arm of the State, not as a

 county official. A sheriff’s only duties established by statute are court-related functions. The

 Pennsylvania Constitution provides that sheriffs are county officers. Pa. Const. Art. IX, § 4.

 Although the Constitution establishes the office, it does not describe the duties of a sheriff.

 Kopko v. Miller, 892 A.2d 766, 770–71 (Pa. 2006). While the sheriff’s power at common law

 was formidable, other institutions, including modern law enforcement agencies, have greatly

 diminished the authority of the sheriff’s office. Com. v. Leet, 585 A.2d 1033, 1037 (Pa. Super.


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   Although the Sheriff’s Supplemental Memorandum is limited to addressing this issue, the Sheriff wishes to draw
 the Court’s attention to a Third Circuit opinion issued the day after oral argument on the Motion for Summary
 Judgment. The Sheriff’s Motion included argument that the Sheriff is entitled to quasi-judicial immunity. Attached
 hereto as Exhibit A is a copy of the Third Circuit’s opinion in Villarreal v. New Jersey, No. 19-1426, 2020 WL

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                                                                                                                      63
Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    16:41:12   Desc Main
                                                                   64 of 113
                            Document     Page 3 of 10



 1991) (citations omitted). “Today, the sheriff's principal function is as an arm of the court, which

 is the duty specifically assigned to the office of sheriff by the legislature.” Com. v. Leet, 585

 A.2d at 1037. A sheriff is mandated to “serve process and execute orders directed to him

 pursuant to the law.” 42 Pa.C.S.A. § 2921; Kopko v. Miller, 892 A.2d at 772; Commonwealth v.

 Copenhaver, 200 A.3d 956, 960–61 (Pa. Super. 2018), appeal granted, 215 A.3d 970 (Pa. 2019);

 Allegheny County Deputy Sheriff's Ass'n v. Pennsylvania Labor Relations Bd., 504 A.2d 437,

 439 (PA Cmwlth. 1986) (a sheriff’s role is as an arm of the judicial system, implementing court-

 related processes). It is manded that the Sheriff, “either personally or by deputy, shall serve

 process and execute orders directed to him pursuant to law.” 42 Pa.C.S.A. § 2921 (emphasis

 added). The Sheriff may be held in contempt of court for failure to do so. 42 Pa.C.S.A.§ 4132.

         The Seventh Circuit’s opinion in Scott v. O'Grady, 975 F.2d 366 (7th Cir. 1992), explains

 why the extension of Eleventh Amendment sovereign immunity to the Sheriff is appropriate.

 Sheriffs in Illinois, as in Pennsylvania, are deemed to be county officials by the Illinois

 Constitution. Illinois county sheriffs’ salaries are paid by the counties and the counties are

 responsible for providing the sheriffs offices and expenses. Scott v. O'Grady, 975 F.2d at 370.

 Illinois law provides that county sheriffs, like those in Pennsylvania, have no discretion in

 executing court orders. The sheriff has a statutory duty to serve all warrants, process orders and

 judgments directed or delivered to them. Id. at 371. In Scott, the Sheriff of Cook County was

 ordered by Writ of Assistance to accompany a foreclosing bank to a property and use all means

 to ensure the bank’s ability to take possession of the property. Had the Cook County Sheriff

 failed to do so, it could have been held in contempt of court. Under these circumstances, the

 Seventh Circuit held the sheriffs executing the Writ were not acting as county officials, but as an


 864143 (3d Cir. Feb. 21, 2020) wherein the Court held a sheriff enforcing a foreclosure judgment was immune from
 liability under the doctrine of quasi-judicial immunity.

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                                                                                                                    64
Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    16:41:12   Desc Main
                                                                   65 of 113
                            Document     Page 4 of 10



 arm of the Illinois state judicial system and were thus entitled to Eleventh Amendment immunity

 from suit. Id., see also, Johnson v. Duncan, 719 F. App'x 144 (3d Cir. 2017) (Hudson County,

 New Jersey Sherriff’s Department entitled to Eleventh Amendment protection from suit in

 federal court for alleged federal and state violations); Gray v. Pagano, No. CV 07-2810, 2007

 WL 9754344 (E.D. Pa. July 16, 2007), aff'd, 287 F. App'x 155 (3d Cir. 2008) (Delaware County

 Sheriff entitled to sovereign immunity for conduct related to foreclosure action as all actions

 were within scope of his duties).

        When enforcing the writ of the Court of Common Pleas of the First Judicial District, the

 Sheriff was acting as an arm of the State, not as a Philadelphia County official. The Plaintiff does

 not allege that the Sheriff was acting outside the scope of his authority pursuant to the facially

 valid Writ. Plaintiff’s allegations against the Sheriff all stem from the lawful enforcement of the

 Writ. The allegations against the Sheriff are essentially that after allegedly receiving notice of the

 bankruptcy, the Sheriff sought to enforce the Writ of Possession on. There is no suggestion that

 the Writ was enforced in a manner that was beyond the scope of the mandate contained therein,

 which directed the Sheriff to deliver possession to Defendant Hassan. As set forth below, the

 inquiry regarding the Sheriff’s entitlement to sovereign immunity does not end with the

 conclusion that he was, in his official capacity, acting as an arm of the State.

        As noted, a federal court generally may not hear a suit brought by any person against a

 nonconsenting State except on two conditions: 1) Congress has enacted unequivocal statutory

 language abrogating the States’ immunity from suit; and 2) a constitutional provision must allow

 Congress to so encroach. Allen v. Cooper, No. 18-877, 2020 WL 1325815, at *3 (U.S. Mar. 23,

 2020). “Not even the most crystalline abrogation [however] can take effect unless it is ‘a valid

 exercise of constitutional authority.’” Id. Section 106 of the Bankruptcy Code purports to



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Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    16:41:12   Desc Main
                                                                   66 of 113
                            Document     Page 5 of 10



 abrogate sovereign immunity for certain bankruptcy proceedings including stay violations under

 Section 362(a). The Third Circuit held more than twenty years ago, however, that the abrogation

 of State sovereign immunity contained in 11 U.S.C. 106(a) was unconstitutional and beyond

 Congress’s power under the Bankruptcy Clause. Sacred Heart Hosp. v. Dep’t of Pub. Welfare,

 133 F.3d. 237, 245 (1998). The Third Circuit’s holding remains good law in this circuit, thus

 Section 106 cannot be used to defeat sovereign immunity in the context of a stay violation

 action. See e.g., In re La Paloma Generating Co., 588 B.R. 695, 727 (Bankr. D. Del. 2018), aff'd

 sub nom. In re La Paloma Generating Co. LLC, 607 B.R. 794 (D. Del. 2019).

        Absent an express abrogation of sovereign immunity, or a litigation waiver (which is not

 at issue here as the Sheriff has not filed a proof of claim and the Complaint does not respect the

 adjudication of a claim by the Sheriff), the sovereign immunity analysis must follow Central Va.

 Community College v. Katz, 546 U.S. 356, 126S.Ct. 990 L.Ed.2d 945 (2006), In Katz, the

 Supreme Court held that in ratifying the Constitution, the States agreed to waive sovereign

 immunity with regard to “proceedings brought pursuant to ‘Laws on the subject of

 Bankruptcies.’” Katz at 378. The Court noted that bankruptcy jurisdiction has historically

 principally been in rem as it was premised on the debtor and the bankruptcy estate and not on

 private or State creditors. Katz, 546 U.S. at 369-70. The Supreme Court concluded that the

 Framers would have understood the Bankruptcy Clause to include not just adjudications of rights

 in the res, but also proceeding ancillary to the exercise of in rem jurisdiction as falling within the

 scope of “Laws on the subject of Bankruptcies” for which immunity had been waived. Id. at 371-

 72. As Katz held, Congress “has the power to enact bankruptcy laws the purpose and effect of

 which are to ensure uniformity in treatment of state and private creditors.” Id. at 377 n.13

 (emphasis added).



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Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    16:41:12   Desc Main
                                                                   67 of 113
                            Document     Page 6 of 10



                 Congress may, at its option, either treat States in the same way as
                 other creditors insofar as concerns ‘Laws on the subject of
                 Bankruptcies’ or exempt them from operation of such laws. Its
                 power to do so arises from the Bankruptcy Clause itself; the
                 relevant ‘abrogation’ is the one effected in the plan of the
                 Convention, not by statute.

 Id. at 377 (emphasis added).

         Whether consent by ratification exists turns on whether the proceeding against the

 Sheriff, acting as an arm of the State, effectuates the in rem jurisdiction of the Court or is

 necessary to effectuate the in rem jurisdiction. In re Diaz, 647 F.3d 1073, 1084 (11th Cir. 2011).

 Critical in rem functions of bankruptcy courts include: “[1] the exercise of exclusive jurisdiction

 over all of the debtor's property, [2] the equitable distribution of that property among the debtor's

 creditors, and [3] the ultimate discharge that gives the debtor a ‘fresh start’ by releasing him, her,

 or it from further liability for old debts.” Id. at 1084 (citations omitted).

         The Sheriff does not dispute that the automatic stay is a fundamental procedural

 mechanism that allows a bankruptcy court to exercise its core in rem functions – jurisdiction

 over the bankruptcy estate and the equitable distribution of the debtor’s property among its

 creditors. In re Diaz, 647 F.3d. at 1085. Nor does the Sheriff dispute that contempt motions

 alleging a State creditor has violated the automatic stay generally qualify as “proceedings

 necessary to effectuate the in rem jurisdiction of the bankruptcy courts.” Id. at 1086.

 Accordingly, consent by ratification generally allows a bankruptcy court to exercise jurisdiction

 over a State in an action for violation of the automatic stay when the State is acting as a creditor.

         However, here the Sheriff was not acting as a creditor nor on behalf of a State creditor.

 Rather, the Sheriff was acting as an arm of the State judiciary by enforcing an order of court

 which it was bound to do by statute and for which failure to do so may have resulted in a

 contempt sanction. It does not follow, based upon the Katz analysis, that the Founders would

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Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    16:41:12   Desc Main
                                                                   68 of 113
                            Document     Page 7 of 10



 have contemplated waiver of sovereignty under these circumstances. “[A] bankruptcy court’s in

 rem jurisdiction over a debtor’s property is limited to the bankruptcy administration of that

 property, to wit, the adjudication of interest in and the disposition of the debtor’s property.” In re

 La Paloma Generating Co., 588 B.R. at 728 (citations omitted). There simply is no in rem

 jurisdiction over the claims against the Sheriff. The Sheriff had no rights or claims to the

 Property – the res – and the Sheriff has no debtor/creditor relationship with the Plaintiff. There

 is no reason to believe in rem jurisdiction extends beyond rights and claims tied to the res. Id.

        The Plaintiff seeks damages against the Sheriff acting as an arm of a non-consenting,

 non-creditor State with no interest in or claim against the Property. The allegations have no

 meaningful nexus to the bankruptcy’s administration. Such an action could not have been within

 scope of the States’ consent to sue upon ratification of the Bankruptcy Clause. A suit against the

 Sheriff under these circumstances was not part of the fabric of debtor/creditor law, even if it

 relates to a core aspect of the bankruptcy administration, as it does nothing to further the uniform

 treatment of State and private creditors. See e.g., In re Philadelphia Entm't & Dev. Partners,

 L.P., 611 B.R. 51, 67–68 (Bankr. E.D. Pa. 2019) (holding fraudulent transfer actions part of the

 fabric of debtor-creditor law at the time of ratification and such actions aid in uniform treatment

 of State and non-state transferees and constitute core aspects of bankruptcy administration).

 Holding a Sheriff, acting as an arm of a non-consenting, non-creditor State, in contempt for

 executing on a valid State Court order does implicate the State’s sovereign immunity and is not

 within the States’ narrow waiver of immunity.

        There is no administration of the estate pursuant to an action under Section 362 of the

 Bankruptcy Code that cannot be accomplished in a suit solely against Hassan, the creditor. See

 e.g., In re La Paloma, 588 B.R. at 734 (where purpose of claim is best served elsewhere,



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Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    16:41:12   Desc Main
                                                                   69 of 113
                            Document     Page 8 of 10



 proceeding cannot be considered core to bankruptcy courts’ in rem functions). Actions for

 violation of the automatic stay were meant to add to uniform treatment of creditors by avoiding

 piecemeal distribution of the debtor’s assets by creditors. The purpose of Section 362(k) is best

 served by a proceeding against a creditor. As purchaser of the Property the Plaintiff seeks to

 redeem, Hassan is deemed a secured creditor of the bankruptcy estate. Staying actions to gain

 possession of the Property pursuant to a valid pre-petition Writ of Possession does restructure the

 debtor/creditor relationship as between Hassan and the Plaintiff and is related directly to claims

 and interests of Hassan and the Plaintiff in the Property. Thus, the action against Hassan furthers

 the administration of the estate and is core to the Bankruptcy Court’s in rem functions.

        The conclusion that the States did not contemplate waiving immunity for circumstances

 such as this when ratifying the Bankruptcy Clause is supported by the well settled law that the

 burden is on the creditor to notify third-parties that the automatic stay is in place and that efforts

 in furtherance of execution or enforcement must cease. See e.g., In re Westman, 300 B.R. 338

 (Bankr. D. Minn. 2003) (burden is on creditor, not sheriff in possession of lawfully seized

 vehicle, to prevent stay violations); In re Hardesty, 442 B.R. 110 (Bankr. N.D. Ohio 2010) (once

 a creditor commences legal proceedings it cannot disown responsibility for actions take by third

 parties in furtherance of action); In re Brown, No. BR 12-14058, 2012 WL 3908029 (Bankr.

 E.D. Pa. Sept. 7, 2012) (judgment creditors had duty to take affirmative action to notify sheriff

 that the bankruptcy stay was in place); Eskanos & Adler, P.C., v. Leetien, 309 F.3d 1210, 1215

 (9th Cir.2002) (§ 362(a)(1) imposes on a creditor an affirmative duty to discontinue its post-

 petition collection actions); Roche v. Pep Boys, Inc., (In re Roche), 361 B.R. 615 (Bankr. N.D.

 Ga. 2005) (creditor has an affirmative duty to cease its garnishment upon learning of debtor's

 bankruptcy filing); In re Manuel, 212 B.R. 517, 519 (Bankr. E.D. Va. 1997) (The creditor,



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Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    16:41:12   Desc Main
                                                                   70 of 113
                            Document     Page 9 of 10



 “having an affirmative obligation not to continue a violation of the automatic stay, acted

 willfully when he failed to promptly dismiss the garnishment against debtor's wages.”); In re

 Baum, 15 B.R. 538 (Bankr. E.D. Va. 1981) (a creditor has a responsibility to stop the

 snowballing of continuing garnishment) and In re Banks, 253 B.R. 25 (Bankr. E.D. Mich. 2000)

 (creditor who had previously obtained relief from stay, but who had failed to wait the required

 ten-day period prior to executing on debtor's property and failed to take any steps to have writ

 vacated, willfully violated automatic stay). The duty to stop enforcement of the Writ rested with

 the co-defendant, Mr. Hassan, not the Sheriff. The Plaintiff’s remedy for contempt of the stay

 order is against Mr. Hassan.

        This does not mean that a debtor is entirely without remedy against a State official for

 stay violations under the circumstances similar to those presented here. The Supreme Court’s

 decision in Ex parte Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908), provides federal

 jurisdiction over a suit against a State official when that suit seeks prospective injunctive relief to

 end a continuing violation of federal law. Seminole Tribe of Fla. v. Fla., 517 U.S. 44, 73, 116 S.

 Ct. 1114, 1132, 134 L. Ed. 2d 252 (1996) (quoting Green v. Mansour, 474 U.S. 64, 68, 106 S.Ct.

 423, 88 L.Ed.2d 371 (1985)). The exception to sovereign immunity in Ex parte Young is based in

 part on the premise that certain suits for declaratory or injunctive relief against state officers

 must be permitted if the Constitution is to remain the supreme law of the land. Alden v. Maine,

 527 U.S. 706, 747, 119 S. Ct. 2240, 2263, 144 L. Ed. 2d 636 (1999) (citations omitted).

 In Seminole, the Supreme Court indicated that Ex parte Young would be applied where (1) “the

 suit seeks only prospective injunctive relief” and (2) and where Congress has not “prescribed a

 detailed remedial scheme for the enforcement against a State of a statutorily created right.” 527

 U.S. at 73–74, 119 S.Ct. 1849. Ex parte Young was deemed potentially applicable to a stay



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Case 18-00137-mdc    Doc 126 Filed
       Case 2:21-cv-05144-WB       04/06/20
                               Document  4-3 Entered 04/06/20Page
                                             Filed 12/16/21   16:41:12   Desc Main
                                                                  71 of 113
                            Document    Page 10 of 10



 violation against an official of the Washington Metropolitan Area Transit Authority enjoining

 violations of Sections 362 and 525(a), as neither section contains a “detailed remedial scheme”

 for enforcement against a State. In re Metromedia Fiber Network, Inc., 281 B.R. 524, 534–35

 (Bankr. S.D.N.Y. 2002). In this case, the Complaint did seek injunctive relief against the Sheriff,

 however, the Ex parte Young exception to sovereign immunity is inapplicable as it was rendered

 moot prior to the filing of the Complaint. Any alleged conduct in violation of stay ceased prior to

 filing of the Complaint. The Plaintiff was never dispossessed of the Property, there was no

 ongoing conduct that needed enjoining and there was no prior action allegedly taken by the

 Sheriff that needed to be or could be remedied.

         WHEREFORE, the City of Philadelphia respectfully requests that the Court grant

 summary judgment in the Sheriff’s favor, dismiss the Complaint with prejudice and grant such

 other and further relief as this Court deems appropriate.


                                               Respectfully submitted,

                                               THE CITY OF PHILADELPHIA

 Dated: April 6, 2020                  By:      /s/ Megan N. Harper
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                                               Email: Megan.Harper@phila.gov




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        Case  18-00137-mdc       Doc 126-1Document
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                                                                    12/16/21  Page16:41:12
                                                                                   75 of 113 Desc
                                               Exhibit A Page 4 of 4




                                                       Footnotes


*        This disposition is not an opinion of the full Court and pursuant to I.O.P. 5.7 does not constitute binding
         precedent.
1        Public Law No. 39-26 is the immediate predecessor of the Civil Rights Act of 1866, which is currently codified
         as    42 U.S.C. §§ 1981 and        1982. Because claims under        §§ 1981 and       1982 necessarily include
         allegations of racial discrimination, which the Villarreals do not allege, we will liberally construe the pro se
         complaint as invoking § 1983, which is the vehicle by which private citizens may seek redress for violations
         of constitutional rights committed by state officials.
2        These numbers track the Villarreals’ numbering in the complaint. Pages 20 through 22 (which presumably
         include claim three), are missing from the copy of the complaint uploaded to the District Court docket as well
         the copy provided by the Villarreals in their appendix.
3        In the letter order dismissing the complaint, the District Court also denied the Villarreals’ motion for a
         preliminary injunction. They do not challenge that ruling on appeal. Therefore, we deem it waived. See Voci
         v. Gonzales, 409 F.3d 607, 609 n.1 (3d Cir. 2005).
4        Sheriff Saudino is also shielded by the doctrine of qualified immunity, which “protects government officials
         ‘from liability for civil damages insofar as their conduct does not violate clearly established statutory or
         constitutional rights of which a reasonable person would have known.’ ”           Pearson v. Callahan, 555 U.S.
         223, 231, 129 S.Ct. 808, 172 L.Ed.2d 565 (2009) (quoting         Harlow v. Fitzgerald, 457 U.S. 800, 818, 102
         S.Ct. 2727, 73 L.Ed.2d 396 (1982)).


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     Case 2:21-cv-05144-WB     Filed 04/06/20  Entered
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                                                 12/16/21  Page16:41:12
                                                                76 of 113 Desc
                          Service List Page 1 of 2



                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

------------------------------------------------------x
In re:                                                :
                                                      :   Chapter 13
LYNDEL TOPPIN,                                        :
                                                      :   Bankruptcy No. 18-13098 (MDC)
                  Debtor.                             :
------------------------------------------------------x
------------------------------------------------------x
                                                      :
LYNDEL TOPPIN,                                        :
                                                      :   Adv. Pro. No. 18-00137 (MDC)
                  Plaintiff,                          :
                                                      :
                  v.                                  :
                                                      :
JEWELL WILLIAMS SHERIFF                               :
OF THE CITY OF PHILADELPHIA and :
ABDELDAYEM HASSAN a/k/a                               :
ABDELDYEM HASSAN,                                     :
                                                      :
                  Defendant                           :
------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the Sheriff of the City of Philadelphia’s

Supplemental Brief in Support of Motion for Summary Judgment was served via CM/ECF filing

upon the parties listed below:

                                         Stephen M. Dunne, Esquire
                                             515 Market Street
                                                 Suite 1200
                                           Philadelphia, PA 19102

                                           Predrag Filipovic, Esq.
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                                       1735 Market Street, Suite 3750
                                          Philadelphia, PA 19103




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Case 18-00137-mdc   Doc 126-2Document
     Case 2:21-cv-05144-WB     Filed 04/06/20  Entered
                                       4-3 Filed       04/06/20
                                                 12/16/21  Page16:41:12
                                                                77 of 113 Desc
                          Service List Page 2 of 2



                            David M. Offen, Esquire
                              The Curtis Center
                              601 Walnut Street
                            Philadelphia, PA 19106




                                    THE CITY OF PHILADELPHIA


Dated: April 6, 2020         By:     /s/ Megan N. Harper
                                    MEGAN N. HARPER
                                    Deputy City Solicitor
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Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    21:05:24   Desc Main
                                                                   78 of 113
                            Document     Page 1 of 16




                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 __________________________________________
 In re:                                     :
                                            :                Chapter 13
 LYNDEL TOPPIN,                             :
                                            :
             Debtor.                        :                Bankruptcy No. 18-13098 (MDC)
 __________________________________________:
                                            :
 LYNDEL TOPPIN,                             :
                                            :
             Plaintiff,                     :
                                            :
             v.                             :                Adv. Proc. No. 18-00137 (MDC)
                                            :
 JEWELL WILLIAMS, SHERIFF                  :
 OF THE CITY OF PHILADELPHIA and            :
 ABDELDAYEM HASSAN a/k/a                    :
 ABDELDYEM HASSAN,                          :
                                            :
             Defendants.                    :
 __________________________________________:

  LYNDEL TOPPIN’S SUPPLEMENTAL MEMORANDUM OF LAW IN OPPOSITION
           TO THE SHERIFF OF THE CITY OF PHILADELPHIA’S
                      MOTION FOR SUMMARY JUDGMENT

         The Court requested that the parties submit supplemental briefs responsive to the
 following issue: Whether, by ratifying the United States Constitution and the Bankruptcy Clause
 contained therein, the States agreed to waive their sovereign immunity with respect to claims for
 violation of the stay imposed by 11 U.S.C. §362 for enforcement of a writ of possession.

         Plaintiff, Lyndel Toppin (“Toppin”), through undersigned counsel submits that the States
 do not enjoy sovereign immunity for violations of the automatic stay imposed by §362 of the
 Bankruptcy Code as that would thwart the orderly and even administration of the debtor’s estate,
 one of the central goals of bankruptcy. In Katz, the Supreme Court repeatedly referenced
 bankruptcy courts' ancillary power "to issue compulsory orders to facilitate administration and
 distribution of the bankruptcy res." Indeed, the importance of a uniform set of bankruptcy laws
 was penned by James Madison in Federalist Paper No. 42: “The power of establishing uniform
 laws of bankruptcy is so intimately connected with the regulation of commerce, and will prevent
 so many frauds where the parties or their property may lie or be removed into different States,
 that the expediency of it seems not likely to be drawn into question.”




                                                                                                     78
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    21:05:24   Desc Main
                                                                   79 of 113
                            Document     Page 2 of 16



         The United States Supreme Court correctly recognized in the 2004 Hood1 and 2006 Katz2
 cases that the fundamental nature of bankruptcy cases and proceedings is distinct from litigation
 of statutes enacted under the Commerce Clause or other sections of Article I of the Constitution,
 in a way that is critical to sovereign immunity analysis. Unlike the laws at issue in the Seminole
 Tribe3 and other non- bankruptcy sovereign immunity cases before Hood and Katz, the
 substantive provisions of bankruptcy statutes are not regulatory laws, and do not apply to the
 populace at large or mandate or proscribe any action in the course of everyday affairs.
 Bankruptcy laws only apply in conjunction with bankruptcy cases adjudicating the status of the
 bankrupt debtor. Effectively, the federal government supplies the forum and standards for
 resolution of private debt matters. Unlike federal regulatory statutes that are enforceable by
 federal authorities, bankruptcy discharges, the automatic stay, preference actions and the like are
 enforceable only by debtors and creditors, and only in the context of specific bankruptcy cases,
 not by United States Attorneys or federal agencies in federal or state court suits. It is only private
 parties who can enforce such bankruptcy law provisions through bankruptcy court proceedings in
 specific debtors' bankruptcy cases.

 The Katz Analysis

         In Central Virginia Community College v. Katz, 546 U.S. 356 (2006), The Court
 concluded that sovereign immunity does not bar federal bankruptcy courts from exercising
 authority over States in adversary proceedings to recover preferential transfers.4 It reasoned that
 in rem bankruptcy jurisdiction includes "the power to issue compulsory orders to facilitate the
 administration and distribution of the res."5 Further, "courts adjudicating disputes concerning
 bankrupts' estates historically have had the power to issue ancillary orders enforcing their in rem
 adjudications.”6

         The Court explained that while the principal focus of a bankruptcy is adjudication of
 rights in the res of the bankruptcy estate and discharge of the debtor, the Framers of the
 Constitution understood that proceedings brought pursuant to laws on the subject of bankruptcies
 encompassed certain ancillary proceedings as well.7 The Court concluded that such proceedings
 included avoidance of preferential transfers and recovery of preferentially transferred property.8



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 1
   Tenn. Student Assistance Corp. v. Hood, 541 U.S. 440, 124 S. Ct. 1905, 158 L. Ed. 2d 764 (2004).
 2
   Cent. Va. Cmty. College v. Katz, 546 U.S. 356, 126 S. Ct. 990, 163 L. Ed. 2d 945 (2006);
 3
   Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 116 S.Ct. 1114, 134 L.Ed.2d 252 (1996)
 4
   See Katz, 126 S. Ct. at 1001–02 ("[T]hose who crafted the Bankruptcy Clause would have understood it
 to give Congress the power to authorize courts to avoid preferential transfers and to recover the
 transferred property.").
 5
   Id. at 996.
 6
   Id. at 1000.
 7
   See id. at 1005 ("But while the principal focus of the bankruptcy proceedings is and was always the res,
 some exercises of bankruptcy courts' powers . . . unquestionably involved more than mere adjudication of
 rights in a res.”).
 8
   Id. at 1001–02 ("[I]nterplay between in rem adjudications and orders ancillary thereto is evident in the
 case before us.").




                                                                                                              79
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    21:05:24   Desc Main
                                                                   80 of 113
                            Document     Page 3 of 16



 Through adopting the Constitution, the States abrogated sovereign immunity to effectuate in rem
 bankruptcy jurisdiction in at least some ancillary proceedings that Congress might authorize in
 enacting laws on the subject of bankruptcies:9

                           Insofar as orders ancillary to the bankruptcy courts' in rem jurisdiction, like
                           orders directing turnover of preferential transfers, implicate States' sovereign
                           immunity from suit, the States agreed in the plan of the Convention not to
                           assert that immunity.10

                           In ratifying the Bankruptcy Clause, the States acquiesced in subordination
                           of whatever sovereign immunity they might otherwise have asserted in
                           proceedings necessary to effectuate the in rem jurisdiction of the bankruptcy
                           court. 11

         In coming to its conclusion, the majority of the Court declined to follow dicta in Seminole
 Tribe v. Florida suggesting a contrary result. Justice Thomas, writing for himself and three other
 justices, argued the historical record indicated states did not give up their sovereign immunity
 under the Bankruptcy Clause. The dissenters would have followed the view that nothing in
 Article I abrogates state sovereign immunity, however they were one Justice short of majority
 whose ruling became the law of the land on the issue.


 In Rem Jurisdiction

         Bankruptcy cases do arise under the Constitution, i.e. under the Bankruptcy Clause.12 As
 required by the wording of that clause, there must also be and now is a federal statutory basis for
 jurisdiction as well, the Bankruptcy Code. But bankruptcy also has a historical, theoretical
 grounding in in rem jurisdiction to render judgments relating to the bankruptcy res that informs
 the meaning of the constitutional and statutory provisions.

        The Supreme Court repeatedly recognized that bankruptcy is an in rem proceeding even
 before Hood and Katz.13 The res in a bankruptcy case is not merely the debtor's assets or the

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 9
   See id. at 1002, 1004–05; see also Blatchford v. Native Vill. of Noatak, 501 U.S. 775, 779 (1991)
 (observing States are not "subject to suit in federal court unless it has consented to suit, either expressly or
 in the 'plan of the convention.'"); In re Kids World of Am., Inc., 349 B.R. 152, 165 (Bankr. W.D. Ky.
 2006) ("[T]he Framers, in adopting the Bankruptcy Clause, plainly intended to give Congress the power
 to redress the rampant injustice resulting from States' refusal to respect one another's discharge orders . . .
 the power to enact bankruptcy legislation was understood to carry with it the power to subordinate state
 sovereignty, albeit within a limited sphere.").
 10
    Katz, 126 S. Ct. at 1002.
 11
    Id. at 1005.
 12
    The Bankruptcy Clause empowers Congress to establish "uniform Laws on the subject of Bankruptcies
 throughout the United States." U.S. CONST. art. I, § 8, cl. 4.
 13
    E.g., Katchen v. Landy, 382 U.S. 323, 329 (1966) ("This power to allow or to disallow claims includes
 'full power to inquire into the validity of any alleged debt or obligation of the bankrupt upon which a
 demand or a claim against the estate is based.'"); Gardner, 329 U.S. at 574 (explaining constitutional




                                                                                                                    80
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    21:05:24   Desc Main
                                                                   81 of 113
                            Document     Page 4 of 16



 bankruptcy "estate," although the assets are part of it.14 Rather, the res encompasses the bankrupt
 debtor personally. The Court so found in Moyses, where Max Moyses' discharge was upheld
 against a creditor that had not been served with process or appeared.15 The Court recognized in
 that case that "[t]he subject of 'bankruptcies' includes the power to discharge the debtor from his
 contracts and legal liabilities as well as to distribute his property."16 The debtor as the res was
 even more evident when the Constitution was adopted than it is today, because then it was the
 debtor personally who was freed by federal court order from state debtors' prison by bankruptcy
 adjudication.17 Discharging the debtor from prison was an integral aspect of bankruptcy when
 our Constitution was adopted, and it required an order by a federal court to a state court to
 release the debtor-prisoner. The Katz opinion cites issuance of a writ of habeas corpus to
 extricate a discharged debtor from prison as an example of a proceeding ancillary to the in rem
 discharge adjudication. 18

 Ancillary Jurisdiction

         Ancillary jurisdiction is a type of subject matter jurisdiction invoked when no such
 jurisdiction is expressly conferred on federal courts by the Constitution or by federal statute.19
 The court acquires jurisdiction of a case or controversy in its entirety, and as an incident to the
 disposition of that matter, may decide other matters raised by the case which it could not hear if
 independently presented.20


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 authority of bankruptcy court when State is actor); Moyses, 186 U.S. at 192 ("Proceedings in bankruptcy
 are, generally speaking, in the nature of proceedings in rem").
 14
    See Gardner, 329 U.S. at 574. 
 15
    Moyses, 186 U.S. at 183, 192. The Court held that bankruptcy proceedings are in rem with respect to
 the debtor. Id. at 192.
 16
    Id. at 188; see Bailey v. Baker Ice Mach. Co., 239 U.S. 268, 275–76 (1915) ("'The filing of the petition
 is an assertion of jurisdiction with a view to the determination of the status of the bankrupt and a
 settlement and disposition of his estate.'" (citations omitted)).
 17
    See In re Universal Labs. Inc., No. 77 B 4082, 1978 WL 21369, at *987–88 (N.D. Ill. Dec. 15, 1978)
 (elaborating on impact discharge has on debtors in prison). But see Martin v. Kilbourne, 11 Vt. 93, 94,
 1839 Vt. LEXIS 18, at *2–3 (1839) (providing "the creditor shall have full power to discharge the debtor
 from prison”).
 18
    Katz, 126 S. Ct. at 1005 (explaining "[i]n ratifying the Bankruptcy Clause, the States acquiesced in a
 subordination of whatever sovereign immunity they might otherwise have asserted in proceedings
 necessary to effectuate the in rem jurisdiction of the bankruptcy courts.").
 19
    See WRIGHT, MILLER & COOPER, FEDERAL PRACTICE AND PROCEDURE: JURISDICTION
 3D § 3523 (deeming ancillary jurisdiction most important when courts lack subject matter jurisdiction).
 20
   Id. The Supreme Court has previously held that sovereign immunity cannot exempt a State from
 monetary obligations that are ancillary to compliance with prospective injunctive relief against a State
 officer, even though a damages award for past actions may be barred. Edelman v. Jordan, 415 U.S. 651,
 668 (1974) (recognizing practical effect of relief under Ex parte Young, 209 U.S. 123 (1908)). Under that
 reasoning, a court may order a State to pay for programs designed to remedy past wrongdoing such as
 segregation of public schools. Milliken v. Bradley, 433 U.S. 267, 288–89 (1977). That is not a matter of
 ancillary jurisdiction, however, but of ancillary consequences of an exercise of jurisdiction under the Ex
 parte Young exception to sovereign immunity.




                                                                                                               81
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    21:05:24   Desc Main
                                                                   82 of 113
                            Document     Page 5 of 16



         In 1990, Congress provided broad statutory authority for the exercise of ancillary and
 pendent jurisdiction by federal courts under the name "supplemental jurisdiction."46 Long before
 the supplemental jurisdiction statute was enacted, however, the Court upheld the exercise of
 ancillary jurisdiction in cases initiated under a federal bankruptcy statute as a matter of common
 law, sometimes referring to ancillary jurisdiction to in rem bankruptcy jurisdiction.21

 Ancillary jurisdiction usually falls within two categories of cases:

         Generally speaking, we have asserted ancillary jurisdiction (in the very broad sense in
         which that term is sometimes used) for two separate, though sometimes related, purposes:
         (1) to permit disposition by a single court of claims that are, in varying respects and
         degrees, factually interdependent and (2) to enable a court to function successfully, that
         is, to manage its proceedings, vindicate its authority, and effectuate its decrees.22

          In a narrow sense, the "operative facts" of a bankruptcy case may be considered the
 debtor's discharge and the determination of claims and distribution of the debtor's assets to
 creditors. It is not a typical lawsuit where ancillary jurisdiction arises in the context of factually
 intertwined claims, counterclaims and third party claims.23 However, ancillary jurisdiction may
 be needed for dischargeability litigation, as in the Hood case. And in many bankruptcy cases
 disputes over assets being liquidated requires litigation, and some of the assets consist of causes
 of action. Such litigation is not a matter of determining claims against the res of the estate, but it
 is certainly factually intertwined with the res and the amount that can be distributed to
 creditors.24 The litigation encompasses both federal and state law issues, and may well entail
 purely state-law claims between non-diverse litigants.25

               Bankruptcy court cases may be more complex and procedurally involved than ordinary
 bilateral commercial litigation. In reorganization cases especially, bankruptcy court orders may
 implement the restructuring of a business and the disposition of multiple assets and claims. A
 variety of court proceedings may be required to facilitate a successfully functioning
 reorganization case, and may be needed to implement reorganization decisions and effectuate
 court decrees. Some determinations that would require orders in non-bankruptcy cases are
 automatic in bankruptcy, such as the automatic stay, and litigation to enforce such statutory
 orders is not uncommon. Chapter 11 bankruptcy cases last for years, and litigation under
 confirmed reorganization plans affecting creditor distributions may be commenced by
 restructured companies or liquidating trusts.
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 21
    See, e.g., Local Loan Co., 292 U.S. at 240–41 (stating bankruptcy proceedings are generally in rem
 proceedings); Moyses, 186 U.S. at 192; Commercial Bank of Manchester v. Buckner, 61 U.S. 108, 118
 (1857) ("And the said courts shall have full authority and jurisdiction to compel obedience to all orders
 and decrees passed by them in bankruptcy “).
 22
    Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 379–80 (1994) (citations omitted).
 23
    See, e.g., Gibbs, 383 U.S. at 725 (recognizing pendent jurisdiction over state claims arises out of
 "common nucleus of operative fact" with federal claims).
 24
    See Gardner, 329 U.S. at 578 (holding "the reorganization court has jurisdiction over all of the
 propertyof the debtor"); In re Metromedia Fiber Network, Inc., 299 B.R. 251, 273 (Bankr. S.D.N.Y.
 2003)(including aspects of estate administration within in rem proceedings).
 25 51
       See Butner v. United States, 440 U.S. 48, 54 (1979) (noting property rights in estate assets determined
 by applying state law)




                                                                                                                 82
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    21:05:24   Desc Main
                                                                   83 of 113
                            Document     Page 6 of 16




        In a very real sense, many types of proceedings are factually interdependent with and
 indeed integral to the resolution of a bankruptcy case, and to the successful functioning of the
 bankruptcy court and effectuation of its orders.

 Sovereign Immunity:

         The principle of sovereign immunity is associated with the ancient maxim that "the King
 can do no wrong."26 In some cases, sovereign immunity poses a complete bar to recovery of a
 particular claim in state or federal court. For certain purposes, the Bankruptcy Code provides a
 means to overcome this bar. Section 106 of the Code contains a broad abrogation of sovereign
 immunity with respect to governmental units.27 Sovereign immunity is expressly abrogated with
 respect to a wide range of statutory provisions listed in section 106(a). Included among these are
 virtually all of the provisions that normally would give rise to claims against the government in
 bankruptcy.
         A notable exception to the list is section 541 of the Code. The legislative history states
 that the amendment was not intended to permit a debtor to sue the government on a
 prebankruptcy cause of action when suit would otherwise have been barred by sovereign
 immunity.28 But section 542 is included in the list, and section 542(b) permits a debtor to recover
 “a debt that is property of the estate and that is matured, payable on demand, or payable on
 order” except to the extent it may be offset under section 553.

          The legislative history29 states clearly that the amendment was intended to abrogate both
 federal sovereign immunity and state Eleventh Amendment immunity, overruling Hoffman v.
 Connecticut Department of Income Maintenance30 and the United States v. Nordic Village Inc.31
 In consumer cases, this history should remove any doubts about federal governmental monetary
 liability and the immunity of other entities that are not states,32 not only for transfer avoidance,

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 26
    'Seminole Tribe v. Florida, 517 U.S. 44, 103 n.2 (Souter, J., dissenting) (citing 1 William Blackstone,
 Commentaries *238).
 27
    “Governmental unit” is defined in 11 U.S.C. § 101(27). The definition excludes a United States trustee,
 but only when acting as a trustee. Nonetheless, one court has erroneously held that there is no waiver at
 all with respect to the United States trustee. Balser v. Dep’t of Justice, 327 F.3d 903 (9th Cir. 2003).
 28
    140 Cong. Rec. H10,766 (Oct. 4, 1994) (remarks of Rep. Brooks); Hunsaker v. United States, 902 F.3d
 963 (9th Cir. 2018) (section 106 permitted debtor to sue state for emotional distress damages resulting
 from automatic stay violation); Zazzali v. United States (In re DBSI, Inc.), 869 F.3d 1004 (9th Cir. 2017)
 (section 106 abrogated sovereign immunity for action under section 544 even though section 544
 incorporated state fraudulent transfer law).
 29
    Id.
 30
    492 U.S. 96, 109 S. Ct. 2818, 106 L. Ed. 2d 76 (1989). and United States v. Nordic Village Inc.
 31
    503 U.S. 30, 112 S. Ct. 1011, 117 L. Ed. 2d 181 (1992).
 32
    See Krystal Energy Co. v. Navajo Nation, 357 F.3d 1055 (9th Cir. 2004) (Indian tribe’s immunity
 abrogated by § 106(a)). But see Buchwald Capital Advisors, L.L.C. v. Papas (In re Greektown Holdings,
 L.L.C.), 532 B.R. 680 (E.D. Mich. 2015) (Congress did not unequivocally eliminate tribes’ sovereign
 immunity); Bucher v. Dakota Fin. Corp. (In re Whitaker), 474 B.R. 687 (B.A.P. 8th Cir. 2012) (section
 106 does not mention Indian tribes); In re Mayes, 294 B.R. 145 (B.A.P. 10th Cir. 2003) (when debtor did
 not raise section 106 argument, tribe’s common law immunity precluded lien avoidance motion).




                                                                                                              83
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    21:05:24   Desc Main
                                                                   84 of 113
                            Document     Page 7 of 16



 but also for stay and discharge violations, as well as sanctions under Federal Rule of Bankruptcy
 Procedure 9011.33

         However, the ability of Congress to abrogate the states’ Eleventh Amendment immunity
 may be somewhat limited by the Supreme Court’s decision in Seminole Tribe of Florida v.
 Florida.34 The reach of Seminole Tribe was greatly diminished by the Court’s later decision in
 Central Virginia Community College v. Katz,35 which appears to permit most, and perhaps all,
 bankruptcy proceedings to be brought against state governments based upon the Bankruptcy
 Clause of the Constitution. Indeed, in that case the Court found that the abrogation of sovereign
 immunity in section 106 was unnecessary.36 However the precise contours of the right to sue a
 state government have yet to be developed by the courts.37

         This problem may be avoided occasionally if it is possible to argue that the entity being
 sued is not a state or an arm of a state.38 In some cases involving state action in which the state
 has not filed a proof of claim or otherwise waived its immunity,39 and that immunity is not

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 33
    Hanna Oil Co. v. Internal Revenue Serv., 198 B.R. 672 (W.D. Va. 1996). But see In re Rivera Torres,
 432 F.3d 20 (1st Cir. 2005) (section 106(a) did not waive federal government’s immunity from emotional
 distress damages).
 34
    517 U.S. 44, 116 S. Ct. 1114, 134 L. Ed. 2d 252 (1996).
 35
    546 U.S. 356, 126 S. Ct. 990, 163 L. Ed. 2d 945 (2006).
 36
    Id., 546 U.S. at 362. See Florida Dep’t of Revenue v. Omine (In re Omine), 485 F.3d 1305 (11th Cir.
 2007) (actions to force a state creditor to honor the automatic stay are permitted as proceedings necessary
 to effectuate the in rem jurisdiction of the bankruptcy court).
 37
    See Florida Dep’t of Revenue v. Diaz (In re Diaz), 647 F.3d 1073 (11th Cir. 2011) (sovereign immunity
 abrogated as to discharge violation claim, but not stay violation claim, because proceeding was brought
 long after stay was necessary to protect in rem bankruptcy jurisdiction).
 38
    In re MD Recycling, Inc., 475 B.R. 885 (Bankr. E.D. Tenn. 2012) (local utility failed to show that it is
 an arm of the state); In re Lees, 264 B.R. 884 (W.D. Tenn. 2001) (student loan agency was not arm of
 state entitled to immunity).
 39
    Generally, a party that files a proof of claim is deemed to submit to the bankruptcy court’s jurisdiction,
 at least as to a claim arising out of the same transaction that created the government’s claim. Arecibo
 Cmty. Health Care, Inc. v. Puerto Rico, 270 F.3d 17 (1st Cir. 2001); In re Rose, 187 F.3d 926 (8th Cir.
 1999) (state waived Eleventh Amendment with respect to claims for which it filed proofs of claim); In re
 Jackson, 184 F.3d 1046 (9th Cir. 1999) (state waived Eleventh Amendment with respect to tax claims by
 filing proof of claim); In re Burke, 146 F.3d 1313 (11th Cir. 1998) (state waived Eleventh Amendment by
 filing proofs of claim in debtors’ cases); In re Straight, 143 F.3d 1387 (10th Cir. 1998); In re Rose, 227
 B.R. 518 (W.D. Mo. 1997) (state waived Eleventh Amendment protection from being sued to determine
 dischargeability of student loan by filing claim for student loan debt); In re Bliemeister, 251 B.R. 383
 (Bankr. D. Ariz. 2000) (state waived sovereign immunity by seeking summary judgment in adversary
 proceeding involving dischargeability of state’s claim), aff’d, 296 F.3d 858 (9th Cir. 2002); In re Huffine,
 246 B.R. 405 (Bankr. E.D. Wash. 2000) (state waived sovereign immunity by signing student loan
 participation agreement); In re Lazar, 200 B.R. 358 (Bankr. C.D. Cal. 1996); In re Burke, 200 B.R. 282
 (Bankr. S.D. Ga. 1996). See also In re Innes, 184 F.3d 1275 (10th Cir. 1999) (state consented to litigation
 in federal court by signing participation agreement with U.S. Department of Education agreeing to oppose
 dischargeability complaints); In re Platter, 140 F.3d 676 (7th Cir. 1998) (state waived Eleventh
 Amendment immunity by filing dischargeability complaint); In re White, 139 F.3d 1268 (9th Cir. 1998)
 (sovereign immunity waived by participation in case through objection to plan confirmation and voting




                                                                                                                 84
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    21:05:24   Desc Main
                                                                   85 of 113
                            Document     Page 8 of 16



 abrogated by section 106, debtors may be barred from suing for damages in the bankruptcy
 court, and may still have to resort to devices used in other areas of the law, such as suits against
 state officers for injunctive relief. The Ex parte Young doctrine holds that an action brought
 against state officials in their individual capacities seeking prospective declaratory and injunctive
 relief for continuing violations of federal law is not barred by the Eleventh Amendment.40 For
 example, a suit seeking a declaration that particular property is property of the estate could be
 brought for injunctive and declaratory relief against the state officer heading the relevant state
 agency.41
        The discharge itself is an injunction, which can be42 enforced against a state officer,43 as
 may the automatic stay, the discrimination protections,44 the turnover requirements (except if
 seeking a money judgment)45 and a confirmed plan.46
         The Supreme Court has clearly held that because bankruptcy is an in rem proceeding,
 affecting the debtor’s property, the bankruptcy case itself is not a suit against the state and the
 discharge of a debt to the state is not barred by the Eleventh Amendment.47 The court’s
 jurisdiction over the dischargeability of debt, just like its jurisdiction to confirm a plan of
 reorganization, derives not from jurisdiction over the state or other creditors, but rather from
 jurisdiction over debtors and their estates.48 Similarly, court proceedings about the debtor’s
 property, such as proceedings to avoid liens on the property or to compel turnover of preferential
 transfers, are not suits against the state that implicate a state’s sovereign immunity because they
 are ancillary to a bankruptcy court’s in rem jurisdiction.49


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 against plans); In re Barrett Ref. Corp., 221 B.R. 795 (Bankr. W.D. Okla. 1998) (state could not undo
 waiver by withdrawing proof of claim).
 
 40
   See Coeur d’Alene Tribe of Idaho, 531 U.S. 261, 269, 117 S. Ct. 2028, 138 L. Ed. 2d 438 (1997);
 Green v. Mansour, 474 U.S. 64, 106 S. Ct. 423, 88 L. Ed. 2d 371 (1985); Ex parte Young, 209 U.S. 123,
 28 S. Ct. 441, 52 L. Ed. 2d 714 (1908); In re LTV Steel Co., 264 B.R. 455 (Bankr. N.D. Ohio 2001)
 (action to enforce automatic stay could be brought against state officials under Ex parte Young doctrine).

 41
   In re Ellett, 243 B.R. 741 (B.A.P. 9th Cir. 1999) (suit against state tax official to enjoin collection of
 taxes discharged in chapter 13 may proceed under Ex parte Young doctrine), aff’d sub nom. Ellett v.
 Goldberg, 254 F.3d 1135 (9th Cir. 2001); In re DeAngelis, 239 B.R. 426 (Bankr. D. Mass. 1999).

 42
    In re Rainwater, 233 B.R. 126 (Bankr. N.D. Ala. 1999).
 43
    In re Lapin, 226 B.R. 637 (B.A.P. 9th Cir. 1998)
 44
    In re Kidd, 227 B.R. 161 (Bankr. E.D. Ark. 1998).
 45
    In re Zywiczynski, 210 B.R. 924 (Bankr. W.D.N.Y. 1997).
 46
    Maryland v. Antonelli Creditors’ Liquidating Trust, 123 F.3d 777 (4th Cir. 1997).
 47
    Tenn. Student Assistance Corp. v. Hood, 541 U.S. 440, 124 S. Ct. 1905, 158 L. Ed. 2d 764 (2004).
 48
      Id.
 49
   Cent. Va. Cmty. College v. Katz, 546 U.S. 356, 126 S. Ct. 990, 163 L. Ed. 2d 945 (2006); In re
 Pavlovic, 474 B.R. 601 (Bankr. N.D. Ill. 2012) (debtor could avoid judicial lien despite claim of




                                                                                                                85
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                              Document   4-3 Entered  04/06/20Page
                                             Filed 12/16/21    21:05:24   Desc Main
                                                                   86 of 113
                            Document     Page 9 of 16



         As a limitation on the broad abrogation of sovereign immunity in section 106(a), the state
 and federal government extracted provisions limiting punitive damages and attorney fees awards.
 Section 106(a)(3) prohibits an award of punitive damages and limits attorney fee awards.
 However, this section should not be read to prohibit all monetary sanctions that are not
 compensatory damages.50 “Punitive damages” should be given its normal meaning, limited to
 cases in which that term has traditionally been used to describe a monetary award (as opposed to
 “sanctions” under Federal Rules of Bankruptcy Procedure 7037 or 9011). Attorney fees and costs
 are limited to those consistent with 28 U.S.C. § 2412(d)(2)(A) (the Equal Access to Justice
 Act).51
         The sovereign immunity provisions were also clarified with respect to counterclaims
 against the government. Under section 106(b) (formerly section 106(a)), such a counterclaim
 may be asserted only if the governmental unit has actually filed a proof of claim in the
 bankruptcy case.52 This reverses the result reached by some courts, which had held that a
 counterclaim could be asserted if the government had taken an action that could be deemed an
 “informal proof of claim.”53 As under prior law, the counterclaim must be a compulsory
 counterclaim to the government’s claim, arising out of the same transaction or occurrence to
 come within this section.54

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 sovereign immunity). See also In re Slayton, 409 B.R. 897 (Bankr. N.D. Ill. 2009) (permitting suit for
 damages against state for alleged violations of §§ 524 and 525).
 
 50
   Section 106(a) provides that a bankruptcy court may issue an order or judgment awarding a “money
 recovery” against a governmental unit, which should include a recovery of emotional distress damages
 and other actual damages. However, one court of appeals has held that section 106(a) does not waive
 immunity from an award of emotional distress damages as a contempt sanction for violation of the
 discharge injunction. In re Rivera Torres, 432 F.3d 20 (1st Cir. 2005). But see In re Griffin, 415 B.R. 64
 (Bankr. N.D.N.Y. 2009) (section 106(a) provides for abrogation of sovereign immunity for award of
 actual damages, including damages for emotional distress).
 51
      This incorporates limits on the amount of fees, but not other substantive limitations of the EAJA.
 52
    See Aer-Aerotron v. Texas Dep’t of Transp., 104 F.3d 677 (4th Cir. 1997) (postpetition letters to debtor
 demanding payment did not constitute proof of claim for purposes of this section); Carrington Gardens
 Assoc. v. United States, 258 B.R. 622 (E.D. Va. 2001) (government waived sovereign immunity by filing
 proof of claim even though debtor’s claim was not strictly a counterclaim when proof of claim was filed
 after adversary complaint was brought against agency), aff’d, 49 Fed. Appx. 427 (4th Cir. 2002) (table);
 In re Gibson, 176 B.R. 910 (Bankr. D. Or. 1994) (federal government considered one governmental unit,
 so proof of claim waived sovereign immunity for all agencies under predecessor to this provision). See
 also Lapides v. Bd. of Regents, 535 U.S. 613, 122 S. Ct. 1640, 152 L. Ed. 2d 806 (2002) (by removing
 action to federal court, a state waives Eleventh Amendment immunity, relying on Gardner v. N.J., 329
 U.S. 565, 574, 67 S. Ct. 467, 91 L. Ed. 504 (1947), which held that filing a proof of claim waives a state’s
 immunity); In re Stanley, 273 B.R. 907 (Bankr. N.D. Fla. 2002) (having waived immunity by filing
 proofs of claim, state could not reinstate immunity by withdrawing them).
 53
      See, e.g., Sullivan v. Town & Country Nursing Home Services, Inc., 963 F.2d 1146 (9th Cir. 1992).
 54
    In re Supreme Beef Processors, Inc., 391 F.3d 629 (5th Cir. 2004) (claims did not arise out of same
 transaction or occurrence and could not be asserted under section 106(b), but could be set off against




                                                                                                                86
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                               Document  4-3 Entered 04/06/20Page
                                             Filed 12/16/21   21:05:24   Desc Main
                                                                  87 of 113
                            Document    Page 10 of 16



        A debtor or trustee may also offset against a claim or interest of a governmental unit any
 claim against the governmental unit that is property of the estate.55 However, in some cases
 courts will have to define whether different agencies of the same government are the same
 governmental unit for purposes of this section.56
         Because it is still possible that some actions may not be brought directly against a state
 that has not waived its immunity,57 proceedings seeking injunctive or declaratory relief should
 also be brought under the Ex parte Young doctrine.58 Because civil contempt damages and
 attorney fees are considered prospective relief, they may be awarded against a state officer
 notwithstanding the state’s Eleventh Amendment immunity.59 Additionally, nonbankruptcy
 limitations on and waivers of sovereign immunity remain applicable in bankruptcy.60

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 government claim under section 106(c)), later decision at 468 F.3d 248 (5th Cir. 2006) (disallowing setoff
 under section 106(c)). See Lazar v. California, 237 F.3d 967 (9th Cir. 2001) (state’s proof of claim arose
 out of same transaction or occurrence as mandamus action against state seeking payment of claims from
 Underground Storage Tank Cleanup Trust); In re Price, 42 F.3d 1068 (7th Cir. 1994) (violation of
 automatic stay arose out of same transaction as government’s tax claim); In re Graham, 981 F.2d 1135
 (10th Cir. 1992) (section 106(a) requires claims against government to be compulsory counterclaims for
 sovereign immunity waiver under that subsection); In re Rebel Coal Co., 944 F.2d 320 (6th Cir. 1991)
 (preference claim arising from garnishment for fines did not arise from same transaction or occurrence as
 government’s claim for remaining fines, so sovereign immunity not waived under section 106(a)). Cf.
 United States v. Pullman Constr. Indus., Inc., 153 B.R. 539 (N.D. Ill. 1993) (preference action against
 Internal Revenue Service was compulsory counterclaim to government’s claim for taxes).
 55
      11 U.S.C. § 106(c).
 56
    See In re Charter Oak Assoc., 361 F.3d 760 (2d Cir. 2004) (proof of claim filed by state tax agency
 waived immunity for claim against state social services agency); In re Hal, Inc., 122 F.3d 851 (9th Cir.
 1997) (federal government is unitary creditor for purposes of setoff rights); In re Turner, 84 F.3d 1294
 (10th Cir. 1996) (en banc) (federal government is unitary creditor for bankruptcy purposes so debt owed
 to one agency may be set off against claim of another); Doe v. United States, 58 F.3d 494 (9th Cir. 1995)
 (all agencies of United States are a single governmental unit);
 57
   Murphy v. Michigan Guar. Agency, 271 F.3d 629 (5th Cir. 2001); In re Mitchell, 209 F.3d 1111 (9th
 Cir. 2000).
 58
      See Ex parte Young, 209 U.S. 123, 28 S. Ct. 441, 52 L. Ed. 714 (1908).
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 59
   In re Colon, 114 B.R. 890 (Bankr. E.D. Pa. 1990). See also In re Bryant, 116 B.R. 272 (Bankr. D. Kan.
 1990) (IRS had no defense of sovereign immunity when it violated discharge injunction), aff’d, 1991 WL
 204911 (D. Kan. Sept. 9, 1991); In re Adams, 115 B.R. 59 (Bankr. D.N.J. 1990) (wage order entered
 against debtor employed by Navy did not violate sovereign immunity because order provided injunctive,
 not monetary, relief). But see In re Gustafson, 934 F.2d 216 (9th Cir. 1991) (state immune from money
 damages for violations of the stay without express consideration of potential contempt remedies).
 60
  See In re Epps, 110 B.R. 691 (E.D. Pa. 1990) (debtor’s action against Dep’t of Housing and Urban
 Development for equitable relief was not barred by sovereign immunity because it was permitted under
 Administrative Procedure Act).




                                                                                                              87
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                               Document  4-3 Entered 04/06/20Page
                                             Filed 12/16/21   21:05:24   Desc Main
                                                                  88 of 113
                            Document    Page 11 of 16



          One other way of dealing with federal sovereign immunity problems may be available
 under the Tucker Act61 and the “Little Tucker Act.”62 The latter statute permits non-tort suits for
 money damages arising under federal law to be brought against the federal government in district
 court if the amount sought is less than $10,000.63 Thus, a debtor or trustee should be able to file
 such a proceeding arising under the Bankruptcy Code, or the Constitution or any other federal
 statute, in the district court. Probably, if the proceeding arises under the Code, it would
 automatically be referred to the bankruptcy court under the general order of reference applicable
 in that district court.64
         However, the Supreme Court has ruled that the Little Tucker Act does not apply when a
 statute provides its own detailed remedial scheme.65 Whether a claim under the Bankruptcy
 Code, which has its own sovereign immunity provisions in section 106, could survive this test is
 questionable.

 The Ancillary Jurisdiction Exception to Sovereign Immunity

         The broad historical scope of ancillary to in rem bankruptcy jurisdiction bears on the
 scope of the exception to sovereign immunity established in Katz. The Eleventh Amendment was
 written using subject matter jurisdiction terminology; it limits "[t]he Judicial power of the United
 States."66The Supreme Court cited to that language in Seminole Tribe:




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 61
    28 U.S.C. § 1491. See generally Dennis M. Garvis & Frank W. Koger, If at First You Don’t Succeed . .
 . ; An Alternative Remedy After Nordic Village, 66 Am. Bankr. L.J. 423 (1992).
 62
      28 U.S.C. § 1346(a)(2).
 63
      28 U.S.C. § 1346(a)(2).
 Claims over $10,000 must be brought in the United States Claims Court. 28 U.S.C. § 1491. But see
 Bowen v. Massachusetts, 487 U.S. 879, 906 n.42, 108 S. Ct. 2722, 2738 n.42, 101 L. Ed. 2d 749, 771
 (1988) (legislation upon which claim is based must be such that it can fairly be interpreted as mandating
 compensation by the federal government for damage sustained); Sheehan v. United States, 2012 WL
 1637967 (N.D. W. Va. May 8, 2012) (no jurisdiction unless there is an express provision for payment
 from funds appropriated by Congress).
 64
   See Dennis M. Garvis & Frank W. Koger, If at First You Don’t Succeed ; An Alternative Remedy
 After Nordic Village, 66 Am. Bankr. L.J. 423, 434 (1992).
 65
      United States v. Bormes, 568 U.S. 6, 133 S. Ct. 12, 184 L. Ed. 2d 317 (2012).
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Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                               Document  4-3 Entered 04/06/20Page
                                             Filed 12/16/21   21:05:24   Desc Main
                                                                  89 of 113
                            Document    Page 12 of 16



         The Eleventh Amendment restricts the judicial power under Article III, and Article I
         cannot be used to circumvent the constitutional limitations placed upon federal
         jurisdiction.67

         Just as Eleventh Amendment sovereign immunity is a "hybrid" of subject matter and
 personal jurisdiction, bankruptcy in rem ancillary jurisdiction highlighted by the Katz case is also
 a hybrid. The Supreme Court may have limited the breadth of such litigation against States,
 however, in that the Katz case analyzed the understanding of the framers of the Constitution as
 well as the concept of ancillary jurisdiction to in rem proceedings. Several times, the Court used
 limiting language in describing the States' surrender of immunity with respect to bankruptcy in
 the plan of the Convention:

                  [R]atification of the Bankruptcy Clause does represent a surrender by the States of
                 their sovereign immunity in certain federal proceedings.68

                 The Framers would have understood that laws 'on the subject of
                 Bankruptcies' included laws providing, in certain limited respects, for more
                 than simple adjudications of rights in the res.69

                 [T]he power to enact bankruptcy legislation was understood to carry with it
                 the power to subordinate state sovereignty, albeit within a limited sphere.70

         The Court analyzed the historical record, and determined that the particular type of
 ancillary proceeding at issue in Katz was within the understanding of the people crafting and
 ratifying the Constitution when they authorized Congress to establish "uniform Laws on the
 subject of Bankruptcies throughout the United States."71

          Instead of using such historical concerns to limit the meaning of the Bankruptcy Clause,
 the Katz opinion used history to show that the Framers of the Constitution were aware of the
 issues and intentionally conferred broad authority to enact "Laws on the subject of Bankruptcies"
 that could bind States.72 It explained that this power could be exercised by Congress to treat
 States in a special manner, or to treat them like other creditors; the Constitution did not impose
 restrictions.73 Referring to the Bankruptcy Act of 1800, the Court said:

               That Congress felt the need to carve out an exception for States' preferences undermines
               any suggestion that it was operating against a background presumption of state sovereign
               immunity to bankruptcy laws.74
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 67
    Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 72–73 (1996).
 68
    Katz, 126 S. Ct. at 1000 n.9 (emphasis added).
 69
    Id. at 1000 (emphasis added).
 70
    Id. at 1004 (emphasis added).
 71
    Id. at 1000–02 (quoting U.S. CONST. art. I, §8, cl. 4)
 72
    Id. at 1004 (citing Blatchford v. Native Vill. of Noatak, 501 U.S. 775, 779 (1991) (internal quotations
 omitted)).
 73
    Id. at 1005.
 74
    Id. at 1003 n.12.




                                                                                                              89
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                               Document  4-3 Entered 04/06/20Page
                                             Filed 12/16/21   21:05:24   Desc Main
                                                                  90 of 113
                            Document    Page 13 of 16




        The point, said the Court, was that Congress was empowered to make determinations
 about the extent of bankruptcy court power over States:

              The relevant question is not whether Congress has "abrogated States" immunity in
              proceedings to recover preferential transfers. The question, rather, is whether Congress'
              determination that States should be amenable to such proceedings is with the scope of its
              power to enact "Laws on the subject of Bankruptcies."75

       Analogizing historical examples cited by the Court in Katz to modern-day equivalents,
 however, it is evident that bankruptcy proceedings determining rights of States are extensive.

         For example, Katz cited habeas corpus proceedings directing States to release debtors
 from state prisons as an illustration of the exercise of jurisdiction ancillary to in rem bankruptcy
 jurisdiction.76The current Bankruptcy Code expressly does not stay criminal actions against
 debtors, or state proceedings to suspend or restrict debtors' licenses to move in vehicles or
 operate their businesses.77

         But a bankruptcy statute could provide otherwise under the reasoning in Katz and
 older Supreme Court cases, and federal bankruptcy court in rem ancillary jurisdiction over a
 debtor apparently would encompass adversary proceedings to enjoin government officials from
 exercising such power to terminate a debtor's rights. The Bankruptcy Code does stay numerous
 other types of actions States can take, such as seizing tax refunds or impressing liens on estate
 property to satisfy debts.

         Katz noted that historically, bankruptcy courts had authority "to imprison recalcitrant
 third parties in possession of the estate's assets" and to "pursue any legal method of recovering
 [the debtor's] property "78 The Katz opinion recognized that the bankruptcy court has power
 under the current Bankruptcy Code to recover property under section 550 and mandate turnover
 of assets to marshal the entirety of a debtor's estate.79
  By inference as well as by statute, the bankruptcy court accordingly has jurisdiction over
 adversary proceedings to seize assets in which the estate allegedly has an interest, pursue
 avoidance actions of all kinds, and simply liquidate assets including causes of action. Katz
 repeatedly referenced bankruptcy courts' ancillary power "to issue compulsory orders to facilitate
 administration and distribution of the bankruptcy res."80 That would logically include authority



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 75
    Katz, 126 S. Ct. at 1005 (internal citations omitted).
 76
    Id. at 1004–05 (recognizing Sixth Congress' authorization of federal courts to release debtors from state
 prisons).
 77
    Id. at 1004–05 (recognizing Sixth Congress' authorization of federal courts to release debtors from state
 prisons).
 78
    Katz, 126 S. Ct. at 1000 (emphasis in original).
 79
    Id.; see 11 U.S.C. §§ 550, 541, 542 (2006) (discussing property of estate, turnover of property to estate,
 and liability of transferee of avoided transfer).
 80
      Katz, 126 S. Ct. at 996 (recognizing bankruptcy court's power to distribute res).




                                                                                                                 90
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                               Document  4-3 Entered 04/06/20Page
                                             Filed 12/16/21   21:05:24   Desc Main
                                                                  91 of 113
                            Document    Page 14 of 16



 to determine an estate's tax liability, contract assumption rights, claim allowance and status,
 rights and claims with respect to use and sale of estate property, and similar matters.81

         Congress may have determined that States should not be obliged to participate in some
 bankruptcy proceedings without their consent, however. Section 106(a) of the Bankruptcy Code
 lists numerous Code provisions where Congress specified that "sovereign immunity is abrogated
 as to a governmental unit."157 Id. § 106(a) (2006).

         Katz upheld bankruptcy court jurisdiction to recover payments preferentially made to
 State entities.82 The Court's reasoning appears broad enough to encompass all or virtually all
 proceedings that might be brought under the bankruptcy court's "arising under, arising in and
 related to" jurisdiction.83 The scope of such proceedings themselves, when evaluated by a test of
 in rem ancillary jurisdiction, is far-reaching, even if section 106(a) is construed as a limited
 recognition of sovereign immunity in bankruptcy.

         The Sheriff does not dispute that “the automatic stay is a fundamental procedural
 mechanism that allows a bankruptcy court to exercise its core in rem functions –
 jurisdiction over the bankruptcy estate and the equitable distribution of the debtor’s
 property among its creditors.” In re Diaz, 647 F.3d. at 1085. See Def’s Memo at 6. This Court
 has already ruled on this issue and rejected the defense of governmental immunity in In re
 Odom, 570 B.R. 718 (2017); In re Odom, 571 BR 687 (2017) where the Philadelphia Parking
 Authority asserted governmental immunity as a defense to the § 362(k) claim. The court noted
 “The PPA asserts that, as a government agency, it is entitled to immunity from the Debtor's
 claim for damages under 11 U.S.C. § 362(k) and therefore, it is entitled to summary judgment.
 This argument is without merit. In evaluating an immunity defense, the starting point is to
 determine the source of the asserted immunity. In this case, to understand fully the contours of
 the immunity issue presented, it is helpful to start with the type of immunity that is not at issue.
 The PPA does not assert immunity based on the Eleventh Amendment to the U.S. Constitution.
 The Eleventh Amendment applies to actions brought by a citizen against a state or state
 instrumentality. The Eleventh Amendment provides no defense to the PPA for two (2)
 independent reasons. First, The PPA admits that it is a local agency, not a state agency or
 instrumentality. (PPA's Motion at 6). Consequently, Eleventh Amendment immunity is not
 applicable here. Second, and equally significant, any potential Eleventh Amendment immunity
 has been waived and imposes no obstacle to the bankruptcy court's adjudication of this
 proceeding for damages under 11 U.S.C. § 362(k).”

               Judge Frank’s immunity analysis in In re Odom is availing: “In Central Virginia
 Community College v. Katz, 546 U.S. 356, 126 S.Ct. 990, 163 L.Ed.2d 945 (2006), the Supreme
 Court held that the "States agreed in the plan of the Convention not to assert any sovereign
 immunity defense they might have had in proceedings brought pursuant to `Laws on the subject
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   11 U.S.C. §§ 363, 364, 365, 502, 505, 506, 510 (2006) (discussing use, sale, or lease of property,
 obtaining credit, executory contracts and unexpired leases, allowance of claims or interests, determination
 of tax liability, determination of secured status, and subordination).
 82
   Katz, 126 S. Ct. at 994 (recovering preferential transfers to each of petitioners).
 83
   Id. at 995–96 (failing to implicate state sovereignty to the "same degree as other kinds of
 jurisdiction”).




                                                                                                               91
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                               Document  4-3 Entered 04/06/20Page
                                             Filed 12/16/21   21:05:24   Desc Main
                                                                  92 of 113
                            Document    Page 15 of 16



 of Bankruptcies.'" Id. at 377, 126 S.Ct. 990. As a result, bankruptcy in rem jurisdiction extends
 against a state in all matters arising in bankruptcy cases that are "necessary to effectuate the in
 rem jurisdiction of the bankruptcy courts." Id. at 378, 126 S.Ct. 990. The exercise of this
 bankruptcy jurisdiction is not dependent upon 11 U.S.C. § 106 or any Congressional action.

        In Katz, the Supreme Court identified three (3) "[c]ritical features" of the bankruptcy
        court's in rem jurisdiction:

        the exercise of exclusive jurisdiction over all of the debtor's property, the equitable
        distribution of that property among the debtor's creditors, and the ultimate discharge that
        gives the debtor a `fresh start' by releasing him, her, or it from further liability for old
        debts. 546 U.S. at 363-64, 126 S.Ct. 990.

        A proceeding involving the enforcement of the automatic stay constitutes a "critical
        feature" in the exercise of in rem bankruptcy jurisdiction in that it facilitates the exercise
        of the court's exclusive jurisdiction over the debtor's property. As the Eleventh Circuit
        has explained:

        Ordinarily, an adversary action arising out of a creditor's violations of the automatic stay
        forces the creditor to honor the automatic stay and thereby assists the bankruptcy court in
        carrying out its in rem functions. That holds true even where the action takes the form of
        a motion seeking contempt and sanctions. Although these kinds of actions `may resemble
        money damage lawsuits in form, it is their function that is critical, and their function is to
        facilitate the in rem proceedings that form the foundation of bankruptcy.' (italics in
        original).

        In re Diaz, 647 F.3d 1073, 1085 (11th Cir. 2011);12 accord In re Schroeder, 2009 WL
        3526504, at *4 (Bankr. D. Neb. Oct. 23, 2009) (under Katz, "damages for violating the
        automatic stay are within the scope of the [bankruptcy] court's authority over the states").

        In its submissions, the PPA muddles the immunity issue by discussing 11 U.S.C. § 106(a)
        at some length. Section 106(a) purports to be a Congressional waiver of Eleventh
        Amendment immunity (an immunity which the Katz court held was waived through the
        ratification of the Constitution and not dependent on Congressional action).

        Section 106(a) states, in relevant part,

        [n]otwithstanding an assertion of sovereign immunity, sovereign immunity is abrogated
        as to a governmental unit to the extent set forth in this section with respect to [inter alia. §
        362].

        The PPA points out, accurately, that in In re Sacred Heart Hosp. of Norristown, 133 F.3d
        237, 245 (3d Cir. 1998), the Third Circuit held that a prior version of § 106(a) was
        unconstitutional insofar as it purported to be a Congressional abrogation of the states'
        Eleventh Amendment immunity. See also In re Philadelphia Entm't & Dev. Partners,
        L.P., 549 B.R. 103, 121 (Bankr. E.D. Pa. 2016) ("consistent with the Third Circuit's




                                                                                                           92
Case 18-00137-mdc    Doc 127 Filed
       Case 2:21-cv-05144-WB       04/06/20
                               Document  4-3 Entered 04/06/20Page
                                             Filed 12/16/21   21:05:24   Desc Main
                                                                  93 of 113
                            Document    Page 16 of 16



        opinion in Sacred Heart, to find that § 106(a) of the Bankruptcy Code may not be relied
        upon by the Trustee to defeat the Commonwealth Parties' assertion of sovereign
        immunity"). The PPA then argues that § 106(a) does not interfere with the immunity
        provided by the PSTCA.

        For the reasons explained in Part V.A.1, supra, the PPA's § 106(a) argument is
        unavailing. It is based on the false premise that § 106(a) impacts its claimed entitlement
        to immunity. After Katz, both Sacred Heart and § 106(a) essentially are irrelevant in the
        analysis of waiver of state sovereign immunity. In any event, as previously explained in
        the previous section of this Memorandum: (1) as a local agency, the PPA cannot invoke
        state sovereign immunity; and (2) even if the PPA were a state instrumentality, under
        Katz, it could not invoke sovereign immunity as a defense to an action under 11
        U.S.C. § 362(k).”

         The automatic stay imposes a specific and definite injunction that is equivalent of a court
 order. The Sheriff acknowledges, as it must, that it had notice of the Debtor's bankruptcy filing
 and the existence of the automatic stay. The Commonwealth of Pennsylvania, (or a local agency)
 cannot immunize itself from liability for violation of the provisions of the federal Bankruptcy
 Code.

       WHEREFORE, Plaintiff, by and through his counsel, respectfully request that this
 Honorable Court dismiss Sheriff’s Motion for Summary Judgment.



 Dated: April 6, 2020

        By: /s/ Predrag Filipovic                     BY: /s/ Stephen M. Dunne
        Predrag Filipovic, Esquire                    Stephen M. Dunne, Esquire
        1735 Market St., Suite 3750                   1515 Market Street, Suite. 1200
        Philadelphia, PA 19103                        Philadelphia, PA 19102
        267-265-0520 Phone                            (215) 551-7109 Phone
        Attorney for Plaintiff                        Attorney for Plaintiff




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Case 18-00137-mdc    Doc 128 Filed
       Case 2:21-cv-05144-WB       06/30/20
                              Document   4-3 Entered  06/30/20Page
                                             Filed 12/16/21    13:37:55   Desc Main
                                                                   94 of 113
                            Document      Page 1 of 5



                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                                :       Chapter 13
 Lyndel Toppin,                                        :
                         Debtor.                       :       Bankruptcy No. 18-13098-MDC

 Lyndel Toppin,                                        :
                         Plaintiff,                    :
           v.                                          :       Adversary No. 18-00137-MDC
 Jewell Williams, Sheriff of the City of Philadelphia :
 and Abdeldayem Hassan aka Abdeldyem Hassan,
                         Defendants.                   :


                  ORDER GOVERNING PROCEDURES AT TRIAL
                CONDUCTED REMOTELY BY VIDEOCONFERENCE

           AND NOW WHEREAS, the Court scheduled a Trial in the matter of Lyndell Toppin v.

 Jewell Williams, Sheriff of the City of Philadelphia and, Abdeldayem Hassan aka Abdeldyem

 Hassan, Adversary No. 18-00137, for July 17, 2020, at 10:30 a.m. (the “Trial”).

           AND, due to the limitations on public gatherings imposed by public health authorities in

 response to the COVID-19 pandemic, it being impractical to conduct the Trial in the ordinary

 course in the courtroom.

           AND, therefore, there being compelling circumstances justifying conducting the Trial

 remotely by video conference pursuant to Fed. R. Bankr. P. 9017 (incorporating Fed. R. Civ. P.

 43(a)).

           It is therefore ORDERED that the parties shall comply with the following procedures in

 connection with the Trial:




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Case 18-00137-mdc    Doc 128 Filed
       Case 2:21-cv-05144-WB       06/30/20
                              Document   4-3 Entered  06/30/20Page
                                             Filed 12/16/21    13:37:55   Desc Main
                                                                   95 of 113
                            Document      Page 2 of 5



                                       Pretrial Disclosure Requirements

         1.      On or before July 15, 2020, any party intending to call a witness to testify by

 video conference (the “Remote Witness”) shall file and serve 1 a Remote Witness List setting

 forth the following:

                 a.       the name and title of the Remote Witness;
                 b.       a summary of subject matter of the anticipated testimony;
                 c.       an e-mail address for the witness; 2
                 d.       the location of the Remote Witness (city, state, country);
                 e.       the place from which the Remote Witness will testify (e.g. home, office –
                          no addresses are required);
                 f.       whether any other person(s) will be in the room with the Remote Witness
                          during the testimony, and if so, who (name, title and the other person(s)’
                          relationship to the Remote Witness), and the purpose of the other
                          person(s)’ presence;
                 g.       whether the Remote Witness will have access to any documents other than
                          exhibits included on the Exhibit List required by Paragraph 3 below and, if
                          so, a description of those documents and the reason why they have not
                          been included on the Exhibit List.

         2.      On or before July 15, 2020, any party intending to offer into evidence in its case

 in chief or otherwise use at the Trial any exhibits shall:

                 a.       pre-mark each exhibit;
                 b.       serve each party who has appeared in the matter(s) being heard at the Trial
                          with a list of each exhibit (“the Exhibit List”);
                 c.       serve each party with each pre-marked exhibit on the Exhibit List; 3


 1
   It is contemplated and preferred that all service required by this Order will be accomplished by e-mail.
 However, other means of service are acceptable so long as the document to be served is received within
 one (1) business day of service.
 2
   The witness’ e-mail address provides a means for opposing parties to communicate with the witness
 (when that is legally permissible) as well as a means for service of exhibits to be used in connection with
 the witness' examination by opposing counsel during the Trial.
 3
   If an exhibit is on the docket, counsel may reference the applicable CM/ECF docket number rather than
 serving the exhibit itself on opposing counsel. However, an exhibit used in connection with the testimony
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Case 18-00137-mdc    Doc 128 Filed
       Case 2:21-cv-05144-WB       06/30/20
                              Document   4-3 Entered  06/30/20Page
                                             Filed 12/16/21    13:37:55   Desc Main
                                                                   96 of 113
                            Document      Page 3 of 5



                   d.      deliver the Exhibit List and the exhibits to the court by e-mailing them to
                           the Courtroom Deputy at Eileen_Godfrey@paeb.uscourts.gov.
           3.      A party that wishes to use an exhibit in connection with the examination or cross-

 examination of a witness shall serve the witness with each such exhibit (with notice to all other

 parties) at least 24 hours prior to the Trial.

           4.      If a party anticipates the possibility of offering into evidence or otherwise using

 exhibits at the Trial in the party’s case in rebuttal:

                   a.      On the same date as set forth in Paragraph 2, the party shall prepare a
                           Rebuttal Exhibit List and shall e-mail the Rebuttal Exhibit List and all
                           rebuttal exhibits to the Courtroom Deputy.
                   b.      The court will retain, without reviewing, the Rebuttal Exhibit List and the
                           rebuttal exhibits unless and until the party seeks to use a rebuttal exhibit at
                           the Trial.
                   c.      If a party seeks to use a rebuttal exhibit, the rebuttal exhibit will then be e-
                           mailed to all parties participating in the Trial and the witness. If
                           appropriate, the court will take a short recess to allow the other parties to
                           review the exhibit. 4

           5.      FAILURE TO COMPLY STRICTLY WITH THE REQUIREMENTS OF

 PARAGRAPHS 1-4 MAY RESULT IN THE EXCLUSION OF EVIDENCE OFFERED

 DURING THE TRIAL.

                                 Technological and Logistical Protocols

           6.      Any attorney or party or representative of a party wishing to attend the Trial and

 participate by video shall notify the Courtroom Deputy at least 72 hours prior to the Trial in

 order to obtain the access information to the Trial. 5


 of a witness must be supplied to the witness.
 4
   The procedures in Paragraph 3 are included because there are situations in which a party may
 legitimately wish to hold back a rebuttal exhibit and use it only if necessary due to the developments
 during a Trial. If no such concerns exist, nothing in this Order precludes a party from including rebuttal
 exhibits on the primary Exhibit List and labeling them as such.
 5
     An attorney may make the request on behalf of a client or client representative.
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Case 18-00137-mdc    Doc 128 Filed
       Case 2:21-cv-05144-WB       06/30/20
                              Document   4-3 Entered  06/30/20Page
                                             Filed 12/16/21    13:37:55   Desc Main
                                                                   97 of 113
                            Document      Page 4 of 5



        7.      ALL AUDIO WILL BE THROUGH THE ZOOM WEBSITE. IT IS

 STRONGLY PREFERRED THAT ALL PARTICIPANTS EMPLOY THE COMPUTER

 AUDIO OPTION, RATHER THAN THE TELEPHONIC OPTION AVAILABLE ON

 THE ZOOM WEBSITE.

        8.      Each party calling a witness is responsible for providing the Zoom link to the

 witness.

        9.      To reduce the risk of transmission problems with the video or audio during the

 Trial, the parties should, when possible, limit themselves to one (1) participating attorney and it

 is preferable that those persons who do not anticipate addressing the court limit themselves to

 audio participation. The court reserves the right to limit the attendance of non-litigants and their

 counsel to receipt of audio.

        10.     Since Zoom technology permits the participants to set a virtual background when

 using the video function, all participants are instructed that any virtual background must be

 dignified and respectful. The background may not contain any messages or background that is

 political or that may influence the witness or the proceeding or that is otherwise inappropriate.

 FAILURE TO COMPLY WITH THIS PARAGRAPH MAY RESULT IN THE

 IMPOSITION OF SANCTIONS.

        11.     CONSISTENT WITH JUDICIAL CONFERENCE POLICY, NO PERSON

 MAY RECORD THE VIDEO OR AUDIO OF THE TRIAL. FAILURE TO COMPLY

 WITH THIS PARAGRAPH MAY RESULT IN THE IMPOSITION OF SANCTIONS.




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Case 18-00137-mdc    Doc 128 Filed
       Case 2:21-cv-05144-WB       06/30/20
                              Document   4-3 Entered  06/30/20Page
                                             Filed 12/16/21    13:37:55   Desc Main
                                                                   98 of 113
                            Document      Page 5 of 5



 Dated: June 30, 2020
                                                MAGDELINE D. COLEMAN
                                                CHIEF U.S. BANKRUPTCY JUDGE

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 Philadelphia, PA 19106




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            18-00137-mdc    Doc 137 Document
                 2:21-cv-05144-WB     Filed 07/14/20   Entered
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                                                          12/16/21  Page12:20:29
                                                                         99 of 113 Desc
                                 Notice of Trial Page 1 of 1




                              UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA
 _____________________________________________________________________________________________
In Re: Lyndel Toppin                                      Chapter: 13
                               Plaintiff
                v.                                        Bankruptcy No. 18−13098−mdc
Jewell Williams
                             Defendant                    Adversary No. 18−00137−mdc
 _____________________________________________________________________________________________

                                             NOTICE OF TRIAL


PLEASE TAKE NOTICE that a TRIAL will be held on the above captioned matter before the
Honorable Magdeline D. Coleman , United States Bankruptcy Court
             on: 8/21/20

             at: 10:30 AM

             in: Courtroom #2, 900 Market Street, Philadelphia, PA 19107
Dated: 7/14/20
                                                                           For The Court

                                                                           Timothy B. McGrath
                                                                           Clerk of Court




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                                                                                                Form 169




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Case 18-00137-mdc   Doc 140 Filed
      Case 2:21-cv-05144-WB       07/29/20
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                                                 12/16/21     15:26:47
                                                            Page         Desc Main
                                                                 100 of 113
                            Document     Page 1 of 6



                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                                :       Chapter 13
 Lyndel Toppin,                                        :
                         Debtor.                       :       Bankruptcy No. 18-13098-MDC

 Lyndel Toppin,                                        :
                         Plaintiff,                    :
           v.                                          :       Adversary No. 18-00137-MDC
 Jewell Williams, Sheriff of the City of Philadelphia :
 and Abdeldayem Hassan aka Abdeldyem Hassan,
                         Defendants.                   :


          ORDER GOVERNING PROCEDURES AT TRIAL CONDUCTED
                  REMOTELY BY VIDEO CONFERENCE

           AND NOW WHEREAS, it is necessary and appropriate to conduct Lyndell Toppin v.

 Jewell Williams, Sheriff of the City of Philadelphia and Abdeldayem Hassan aka Abdeldyem

 Hassan, Adversary No. 18-00137, for August 21, 2020, at 10:30 a.m. (the “Trial”).

           AND, due to the limitations on public gatherings imposed by public health authorities in

 response to the COVID-19 pandemic, it being impractical to conduct the Trial in the ordinary

 course in the courtroom.

           AND, therefore, there being compelling circumstances justifying conducting the Trial

 remotely by video conference pursuant to Fed. R. Bankr. P. 9017 (incorporating Fed. R. Civ. P.

 43(a)).

           It is therefore ORDERED that the parties shall comply with the following procedures in

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Case 18-00137-mdc   Doc 140 Filed
      Case 2:21-cv-05144-WB       07/29/20
                             Document       Entered
                                       4-3 Filed     07/29/20
                                                 12/16/21     15:26:47
                                                            Page         Desc Main
                                                                 101 of 113
                            Document     Page 2 of 6



                                   Pretrial Disclosure Requirements

          1.      On or before August 17, 2020, any party intending to call a witness to testify by

 video conference (“the Remote Witness”) shall file and serve 1 a Remote Witness List setting

 forth the following:

                  a.      the name and title of the Remote Witness.
                  b.      a summary of subject matter of the anticipated testimony.
                  c.      an e-mail address for the witness. 2
                  d.      the location of the Remote Witness (city, state, country).
                  e.      the place from which the Remote Witness will testify (e.g. home, office –
                          no addresses are required).
                  f.      whether any other person(s) will be in the room with the Remote Witness
                          during the testimony, and if so, who (name, title and the other person(s)’
                          relationship to the Remote Witness), and the purpose of the other
                          person(s)’ presence.
                  g.      whether the Remote Witness will have access to any documents other than
                          exhibits included on the Exhibit List required by Paragraph 3 below and, if
                          so, a description of those documents and the reason why they have not
                          been included on the Exhibit List.

          2.      On or before August 17, 2020, any party intending to offer into evidence in its

 case in chief or otherwise use at the Trial any exhibits shall:

                  a.      pre-mark each exhibit.
                  b.      serve each party who has appeared in the matter(s) being heard at the Trial
                          with a list of each exhibit (“the Exhibit List”).
                  c.      serve each party with each pre-marked exhibit on the Exhibit List. 3

 1
   It is contemplated and preferred that all service required by this Order will be accomplished by e-mail.
 However, other means of service are acceptable so long as the document to be served is received within
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   The witness’ e-mail address provides a means for opposing parties to communicate with the witness
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     If an exhibit is on the docket, counsel may reference the applicable CM/ECF docket number rather than
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      Case 2:21-cv-05144-WB       07/29/20
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                                                            Page         Desc Main
                                                                 102 of 113
                            Document     Page 3 of 6



                 d.      deliver the Exhibit List and the exhibits to the court by e-mailing them to
                         the Courtroom Deputy at Eileen_Godfrey@paeb.uscourts.gov.

         3.      A party that wishes to use an exhibit in connection with the examination or cross-

 examination of a witness shall serve the witness with each such exhibit (with notice to all other

 parties) at least 24 hours prior to the Trial.

         4.      If a party anticipates the possibility of offering into evidence or otherwise using

 exhibits at the Trial in the party’s case in rebuttal:

                 a.      On the same date as set forth in Paragraph 2, the party shall prepare a
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                         rebuttal exhibits to the Courtroom Deputy.
                 b.      The court will retain, without reviewing, the Rebuttal Exhibit List and the
                         rebuttal exhibits unless and until the party seeks to use a rebuttal exhibit at
                         the Trial.
                 c.      If a party seeks to use a rebuttal exhibit, the rebuttal exhibit will then be e-
                         mailed to all parties participating in the Trial and the witness. If
                         appropriate, the court will take a short recess to allow the other parties to
                         review the exhibit. 4

         5.      FAILURE TO COMPLY STRICTLY WITH THE REQUIREMENTS OF

 PARAGRAPHS 1-4 MAY RESULT IN THE EXCLUSION OF EVIDENCE OFFERED

 DURING THE TRIAL.

                                Technological and Logistical Protocols

         6.      Any attorney or party or representative of a party wishing to attend the Trial and

 participate by video shall notify the Courtroom Deputy at least 72 hours prior to the Trial in



 serving the exhibit itself on opposing counsel. However, an exhibit used in connection with the testimony
 of a witness must be supplied to the witness.
 4
   The procedures in Paragraph 3 are included because there are situations in which a party may
 legitimately wish to hold back a rebuttal exhibit and use it only if necessary due to the developments
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                                                                                                             102
Case 18-00137-mdc   Doc 140 Filed
      Case 2:21-cv-05144-WB       07/29/20
                             Document       Entered
                                       4-3 Filed     07/29/20
                                                 12/16/21     15:26:47
                                                            Page         Desc Main
                                                                 103 of 113
                            Document     Page 4 of 6



 order to obtain the access information to the Trial. 5

           7.      EACH PARTY CALLING A WITNESS IS RESPONSIBLE FOR

 PROVIDING THE ZOOM LINK TO THE WITNESS.

           8.      ALL AUDIO WILL BE THROUGH THE ZOOM WEBSITE. IT IS

 STRONGLY PREFERRED THAT ALL PARTICIPANTS EMPLOY THE COMPUTER

 AUDIO OPTION, RATHER THAN THE TELEPHONIC OPTION AVAILABLE ON

 THE ZOOM WEBSITE.

           9.      When signing into Zoom, each participant shall use their first and last name as

 their screen name, not an e-mail address or nickname.

           10.     Counsel and parties must treat the proceeding as if it were in open court so

 appropriate dress and decorum are required.

           11.     To reduce the risk of transmission problems with the video or audio during the

 Trial, the parties should, when possible, limit themselves to one (1) participating attorney and it

 is preferable that those persons who do not anticipate addressing the court limit themselves to

 audio participation. The court reserves the right to limit the attendance of non-litigants and their

 counsel to receipt of audio.

           12.     No participant may use a virtual background without Court permission. Any

 virtual background must be dignified and respectful. The background may not contain any

 messages or background that is political or that may influence the witness or the proceeding or

 that is otherwise inappropriate. FAILURE TO COMPLY WITH THIS PARAGRAPH MAY

 RESULT IN THE IMPOSITION OF SANCTIONS.


 5
     An attorney may make the request on behalf of a client or client representative.
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Case 18-00137-mdc   Doc 140 Filed
      Case 2:21-cv-05144-WB       07/29/20
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                                                 12/16/21     15:26:47
                                                            Page         Desc Main
                                                                 104 of 113
                            Document     Page 5 of 6



         13.    During testimony by a party or witness, no one is permitted to communicate - via

 text or chat application or any other means - with the testifying witness except by way of on the

 record oral questions directed toward that witness.

         14.    All participants must appear on camera during the entire trial, whether or not they

 are speaking, unless the Court directs otherwise.

         15.    Participants must limit or eliminate possible background distractions.

         16.    If during the course of the proceeding it becomes necessary for counsel to consult

 with a client in private, counsel request to be sent to a breakout room for a short time to have a

 private conversation. However, this Paragraph does not apply when the client is in the midst of

 testifying.

         17.    CONSISTENT WITH JUDICIAL CONFERENCE POLICY, NO PERSON

 MAY RECORD THE VIDEO OR AUDIO OF THE TRIAL. FAILURE TO COMPLY

 WITH THIS PARAGRAPH MAY RESULT IN THE IMPOSITION OF SANCTIONS.


 Dated: July 29, 2020
                                                       MAGDELINE D. COLEMAN
                                                       CHIEF U.S. BANKRUPTCY JUDGE

 Stephen M. Dunne, Esquire
 Dunne Law Offices, P.C.
 1515 Market Street, Suite 1200
 Philadelphia, PA 19102

 Megan N. Harper, Esquire
 Joshua Domer, Esquire
 City of Philadelphia
 Law/Revenue Department
 Municipal Service Building
 1401 John F. Kennedy Boulevard, Room 580
 Philadelphia, PA 19102-1595

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Case 18-00137-mdc   Doc 140 Filed
      Case 2:21-cv-05144-WB       07/29/20
                             Document       Entered
                                       4-3 Filed     07/29/20
                                                 12/16/21     15:26:47
                                                            Page         Desc Main
                                                                 105 of 113
                            Document     Page 6 of 6



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                                                                                     105
Case 18-00137-mdc   Doc 147 Filed
      Case 2:21-cv-05144-WB       08/17/20
                             Document       Entered
                                       4-3 Filed     08/17/20
                                                 12/16/21     21:04:14
                                                            Page         Desc Main
                                                                 106 of 113
                            Document     Page 1 of 5



                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ------------------------------------------------------x
 In re:                                                :
                                                       : Chapter 13
 LYNDEL TOPPIN,                                        :
                                                       : Bankruptcy No. 18-13098 (MDC)
                   Debtor.                             :
 ------------------------------------------------------x
 ------------------------------------------------------x
                                                       :
 LYNDEL TOPPIN,                                        :
                                                       : Adv. Pro. No. 18-00137 (MDC)
                   Plaintiff,                          :
                                                       :
                   v.                                  :
                                                       :
 JEWELL WILLIAMS SHERIFF                               :
 OF THE CITY OF PHILADELPHIA and :
 ABDELDAYEM HASSAN a/k/a                               :
 ABDELDYEM HASSAN,                                     :
                                                       :
                   Defendant                           :
 ------------------------------------------------------x

                             SHERIFF OF THE CITY OF PHILADELPHIA’S
                               REMOTE WITNESS AND EXHIBIT LIST

            Defendant Sheriff of the City of Philadelphia (the “Sheriff”),1 hereby submits this Remote

 Witness and Exhibit List related to the trial scheduled July 17, 2020 at 10:30 a.m.:

                                                     WITNESSES

 1.         Captain Sean Thornton
            Philadelphia Sheriff's Office Civil Enforcement/Investigations Units
            100 South Broad Street, 5th Floor
            Philadelphia, PA 19110
            Sean.thornton@phila.gov

            Captain Thornton is expected to testify regarding policies and procedures of the Civil

 Enforcement Unit, including those with respect to receipt of notices of bankruptcy. He will testify



 1
     Note the current Sheriff of the City of Philadelphia is Rochelle Bilal and an amended case caption is appropriate.




                                                                                                                          106
Case 18-00137-mdc   Doc 147 Filed
      Case 2:21-cv-05144-WB       08/17/20
                             Document       Entered
                                       4-3 Filed     08/17/20
                                                 12/16/21     21:04:14
                                                            Page         Desc Main
                                                                 107 of 113
                            Document     Page 2 of 5



 regarding the Civil Enforcement Unit’s records with respect to notice of Lyndel Toppin’s

 bankruptcy case. Captain Thornton will also testify as to the Civil Enforcement Unit’s record

 keeping procedures and resources, the Civil Enforcement Unit’s record keeping with respect to

 Writs of Possession, and the Civil Enforcement Unit’s records with respect to the Writ of

 Possession at issue in this case. He will also testify in general regarding his duties and the duties

 of the Civil Enforcement Unit.

        It is anticipated that Captain Thornton will be testifying remotely from a City of

 Philadelphia office conference room and that counsel for the Sheriff will also be present.

 2.     Sergeant Jetaria Taylor
        Philadelphia Sheriff's Office
        100 South Broad Street
        Philadelphia, PA 19110
        Jetaria.taylor@phila.gov

        Sergeant Taylor is expected to testify regarding her duties as a deputy sheriff in the Civil

 Enforcement Unit. She will also testify regarding the manner in which Writs of Possession are

 executed and the manner in which she executed upon the Writ of Possession in this case. Sergeant

 Taylor will testify regarding record keeping with respect to the Writ of Possession at issue in this

 case and Writs of Possession in general. She will testify regarding her knowledge, if any, of notice

 of Lyndel Toppin’s bankruptcy case as well as her understanding fo procedures and policies of the

 Unite regarding notices of bankruptcy.

        It is anticipated that Sergeant Taylor will be testifying remotely from a City of Philadelphia

 office conference room and that counsel for the Sheriff will also be present.

 3.     Abdeldayem Hassan
        309 Barker Avenue
        Lansdowne, PA 19050
        dyem341@yahoo.com




                                                                                                         107
Case 18-00137-mdc   Doc 147 Filed
      Case 2:21-cv-05144-WB       08/17/20
                             Document       Entered
                                       4-3 Filed     08/17/20
                                                 12/16/21     21:04:14
                                                            Page         Desc Main
                                                                 108 of 113
                            Document     Page 3 of 5



            Mr. Hassan will testify regarding what notice he received, if any, regarding Lyndel

 Toppin’s bankruptcy proceedings including how and when notice was received. Mr. Hassan will

 also testify regarding when (if) he gave notice of the bankruptcy proceedings to the Sheriff’s Office

 and how such notice was given.

            It is anticipated that Mr. Hassan will be testifying remotely from a home or office and that

 his counsel may be present.

            The Sheriff reserves the right to examine any additional witnesses identified by the other

 parties.

                                               EXHIBITS

            City-1:        Writ of Possession maintained by Sheriff’s Office

            City-2:        Fax Notice of Bankruptcy dated May 8, 2018

            City-3:        Sheriff’s Return of Service for Court of Common Pleas Docket No.
                           1504T0192

            City-4:        Service Event Report dated May 10, 2018

            City-5:        Fax of Notice of Bankruptcy dated June 7, 2018

            City-6:        Service Event Report dated June 25, 2018

            City-7:        Handwritten Entries in Logbook Dated June 25

            City-8:        Handwritten Entries Regarding 21-Day Notice and Final Notice

            City-9:        Philadelphia Sheriff’s Sign In Sheets for Fridays in May and June 2018 as
                           Redacted and Produced by Sheriff

            City-10:       Notes of Sergeant Jetaria Taylor Produced by City December 9, 2019

            City-11:       Declaration of Barrington Whyte attached to Motion for Judgment on
                           Pleadings [Docket No. 48 in Adversary Proceeding]

            City-12:       Employee Income Records [Docket No. 23 in Main Case]




                                                                                                           108
Case 18-00137-mdc   Doc 147 Filed
      Case 2:21-cv-05144-WB       08/17/20
                             Document       Entered
                                       4-3 Filed     08/17/20
                                                 12/16/21     21:04:14
                                                            Page         Desc Main
                                                                 109 of 113
                            Document     Page 4 of 5



       City-13:    Plaintiff’s Responses to Defendant, the Sheriff of the City of Philadelphia’s
                   First Set of Interrogatories

       City-14:    Copy of Notice to Vacate 5/18/2018

       City-15:    Copy of Notice to Vacate 5/24/2018

       City-16:    Copy of Notice to Vacate 5/30/2018

       City-17:    Copy of Eviction Notice 6/1/2018

       City-18:    Copy of Eviction Notice 6/5/2018

       City-19:    Copy of Eviction Notice 6/7/2018

       City-20:    Plaintiff’s Responses to Defendant, City of Philadelphia Sheriff’s
                   Department, Requests for Admission

       City-21:    Verification of Barrington Whyte Regarding Responses to Defendant, City
                   of Philadelphia Sheriff’s Department, Requests for Admission

       City-22:    Deposition Transcript of Barrington Whyte Dated December 12, 2019

       City-23:    Deposition Transcript of Abdeldayem Hassan Dated November 6, 2019

       City-24:    Abdeldayem Hassan’s Answers to Request for Admission

       City-25:    Abdeldayem Hassan’s Answers to Interrogatories

       City-26:    Philadelphia Sheriff’s Office Directive 28

       City-27     Motion for Writ of Possession, with Exhibits, as Attached to Plaintiff’s
                   Second Amended Complaint at Exhibit I

       City-28     Praecipe for Writ of Possession, with Exhibits, as Attached to Plaintiff’s
                   Second Amended Complaint at Exhibit J

       City-29     Deposition Transcript of Captain Sean Thornton Dated December 12, 2019

       City-30     Deposition Transcript of Sergeant Jetaria Taylor Dated December 12, 2019




                                                                                                   109
Case 18-00137-mdc   Doc 147 Filed
      Case 2:21-cv-05144-WB       08/17/20
                             Document       Entered
                                       4-3 Filed     08/17/20
                                                 12/16/21     21:04:14
                                                            Page         Desc Main
                                                                 110 of 113
                            Document     Page 5 of 5



         The City reserves the right to rely upon any exhibits identified by other parties in this matter

 on direct or rebuttal.



                                                Respectfully submitted,


                                                THE CITY OF PHILADELPHIA

 Dated: August 17, 2020                  By:     /s/ Megan N. Harper
                                                MEGAN N. HARPER
                                                Deputy City Solicitor
                                                PA Attorney I.D. 81669
                                                JOSHUA DOMER
                                                Assistant City Solicitor
                                                PA Attorney I.D. 319190
                                                Attorneys for the City of Philadelphia
                                                Municipal Services Building
                                                1401 JFK Boulevard, 5th Floor
                                                Philadelphia, PA 19102-1595
                                                215-686-0503 (phone)
                                                Email: Megan.Harper@phila.gov




                                                                                                            110
Case 18-00137-mdc   Doc 148 Filed
      Case 2:21-cv-05144-WB       08/17/20
                             Document       Entered
                                       4-3 Filed     08/17/20
                                                 12/16/21     21:58:07
                                                            Page         Desc Main
                                                                 111 of 113
                            Document     Page 1 of 3



                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 __________________________________________
 In re:                                     :
                                            :             Chapter 13
 LYNDEL TOPPIN,                             :
                                            :
             Debtor.                        :             Bankruptcy No. 18-13098 (MDC)
 __________________________________________:
                                            :
 LYNDEL TOPPIN,                             :
                                            :
             Plaintiff,                     :
                                            :
             v.                             :             Adv. Proc. No. 18-00137 (MDC)
                                            :
 JEWELL WILLIAMS, SHERIFF                  :
 OF THE CITY OF PHILADELPHIA and            :             Plaintiff’s Remote Witness List
 ABDELDAYEM HASSAN a/k/a                    :
 ABDELDYEM HASSAN,                          :
                                            :
             Defendants.                    :
 __________________________________________:

                                     Plaintiff’s Remote Witness List


       I. Barrington Whyte

  Witness          Summary of Anticipated                  Email Address        Location of
  Name/Title       Testimony                                                    Remote
                                                                                Witness
  Barrington       >Plaintiff’s residence and relevant     phillypride21514     Philadelphia,
  White            financial affairs,                      @gmail.com           PA, USA
  “FRIEND OF       >Bankruptcy filing and the notice to
  THE COURT”       the Sheriff thereof.
  pursuant to      >First hand knowledge of the ill
  Order Doc. 22    effect the post BK notice collection
  (Case # 18-      and writ enforcement had on the
  13098-mdc).      Plaintiff.




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Case 18-00137-mdc   Doc 148 Filed
      Case 2:21-cv-05144-WB       08/17/20
                             Document       Entered
                                       4-3 Filed     08/17/20
                                                 12/16/21     21:58:07
                                                            Page         Desc Main
                                                                 112 of 113
                            Document     Page 2 of 3




  Place from         Person(s) in the room where              Whether Remote
  which Remote       Remote Witness will testify              Witness will have
  Witness will                                                access to any
  testify                                                     documents other
                                                              those on the
                                                              Exhibit List
  Dunne Law          Stephen M. Dunne, Debtor’s               Barrington White
  Offices, P.C.     Attorney                                 Will only have
  1515 Market        Lyndel Toppin, Debtor                    access to those
  Street, Suite                                               documents on the
  1200                                                        Exhibit List
  Philadelphia, PA
  19102



        II. Jetaria Taylor

  Witness            Summary of Anticipated                   Email Address       Location of
  Name/Title         Testimony                                                    Remote
                                                                                  Witness
  Jetaria Taylor      >Philadelphia Sheriff Office’s visits   Megan Harper        Philadelphia,
  Philadelphia       to Plaintiff’s residence post-petition   <megan.harper@p     PA, USA
  Sheriff Officer    >Sheriff’s Policy and Procedures         hila.gov>,



  Place from         Person(s) in the room where              Whether Remote
  which Remote       Remote Witness will testify              Witness will have
  Witness will                                                access to any
  testify                                                     documents other
                                                              those on the
                                                              Exhibit List
  City of                                                     Unknown
  Philadelphia       Unknown
  Law Department
  Municipal
  Services
  Building
  1401 J.F.K.
  Blvd., 5th Floor
  Philadelphia, PA
  19102-1595




                                                                                                  112
Case 18-00137-mdc   Doc 148 Filed
      Case 2:21-cv-05144-WB       08/17/20
                             Document       Entered
                                       4-3 Filed     08/17/20
                                                 12/16/21     21:58:07
                                                            Page         Desc Main
                                                                 113 of 113
                            Document     Page 3 of 3




       III. Custodian of Records


  Witness            Summary of Anticipated             Email Address       Location of
  Name/Title         Testimony                                              Remote
                                                                            Witness
  Philadelphia        >Authenticate Facsimile           Megan Harper        Philadelphia,
  Sheriff’s          Transmissions and Correspondence   <megan.harper@p     PA, USA
  Custodian of       to Philadelphia Sheriff Office     hila.gov>,
  Records            >Sheriff’s Policy and Procedures


  Place from         Person(s) in the room where        Whether Remote
  which Remote       Remote Witness will testify        Witness will have
  Witness will                                          access to any
  testify                                               documents other
                                                        those on the
                                                        Exhibit List
  City of                                               Unknown
  Philadelphia       Unknown
  Law Department
  Municipal
  Services
  Building
  1401 J.F.K.
  Blvd., 5th Floor
  Philadelphia, PA
  19102-1595




                                                                                            113
